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15
16                        UNITED STATES DISTRICT COURT
17                FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
19   LYRICFIND, INC.,                           Case No.
20                                              COMPLAINT
                   Plaintiff,
21
     v.
22                                              DEMAND FOR JURY TRIAL
     MUSIXMATCH S.P.A. and TPG
23
     Global, LLC,
24
                   Defendants.
25
26
27
28


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1          Plaintiff LyricFind, Inc. (“LyricFind” or “Plaintiff”) brings this Complaint and
2    requests a jury trial against Defendants Musixmatch, S.p.A. (“Musixmatch”), and
3    TPG Global, LLC (“TPG”) (collectively, “Defendants”). LyricFind alleges, upon
4    personal knowledge as to events or actions taking place in its presence, and upon
5    information and belief as to all other events or actions, as follows:
6
                                 NATURE OF THE ACTION
7
8          1.     LyricFind and Musixmatch are competitors who provide music lyric
9    services to digital services providers (“DSPs”), like Spotify and YouTube Music,
10   which display music lyrics on their digital streaming platforms. LyricFind brings this
11   Complaint to redress the unlawful misconduct of Musixmatch, the dominant supplier
12   of lyric data fulfillment and administration services, and TPG, the private equity
13   group that owns, controls, and directs Musixmatch. Among other wrongdoing,
14   Musixmatch and TPG orchestrated an anticompetitive scheme with the music
15   publisher Warner Chappell Music, Inc. (“WCM”) to foreclose competition from
16   Musixmatch’s sole global competitor, LyricFind, as well as other smaller
17   competitors, and thus cement Musixmatch’s monopoly position.
18         2.     To display lyrics on their platforms and services, DSPs need three
19   things: (i) a license conveying the rights to display the lyrics, (ii) a transcription of
20   the lyrics in the form of digital files, and (iii) the ability to administer royalty
21   payments to the holders of the lyric rights. The first component above constitutes
22   “Lyric Rights Licensing.” The latter two components constitute “Lyric Data
23   Services.” LyricFind and others compete with Musixmatch to provide both Lyric
24   Rights Licensing and Lyric Data Services to DSPs.
25         3.      LyricFind has worked for years to erode Musixmatch’s monopoly over
26   Lyric Data Services by offering higher-quality lyric services to DSPs at lower prices.
27   As this competitive threat from LyricFind grew,
28                                           to exclude LyricFind and other providers from
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1    the market so it could continue charging unlawfully inflated prices without the risk
2    of losing business.
3          4.
4
5
6
7
8
9          5.
10                                                    ensuring only Musixmatch, and not
11   LyricFind or any other provider, could access the full range of lyric data and licenses
12   needed to provide lyric services to DSPs.
13         6.     Central to this anticompetitive scheme was an exclusive agreement
14   between Musixmatch and the music publisher WCM that cut off LyricFind’s and
15   other providers’ previous non-exclusive access to WCM’s lyric catalog, and with it,
16   many of the popular lyrics needed to compete for any DSPs’ business. Specifically,
17   Musixmatch gained exclusive access to two critical inputs that DSPs need to display
18   lyrics: (1) Lyric Data Services and (2) Lyric Rights Licensing, as each is defined
19   below.
20         7.        To foreclose this competition, Musixmatch, working together with
21   TPG, paid WCM to become the exclusive provider of Lyric Data Services and the
22   exclusive sub-licensor of Lyric Rights Licensing for all WCM titles. This agreement,
23   referred to herein as the “WCM-Musixmatch Exclusive” or “Exclusive,” was
24   unprecedented in the music industry and cut-off LyricFind’s and others’ ability to
25   furnish Lyric Data Services and Lyric Rights Licensing for WCM lyrics, which
26   LyricFind had provided for more than 15 years. Historically, all so-called “major”
27   music publishers, including Sony Music Publishing, Universal Music Publishing
28   Group, and WCM, permitted both LyricFind and Musixmatch to provide Lyric Data
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1    Services for their catalogs on a non-exclusive basis. This permitted Musixmatch and
2    LyricFind to compete for DSPs’ business—that is, until the WCM-Musixmatch
3    Exclusive abruptly ended this competition.
4          8.        TPG and Musixmatch’s anticompetitive scheme did not end there.
5    To further force DSPs to contract with Musixmatch, TPG and Musixmatch conspired
6    to force DSPs to remove lyrics supplied by anyone but Musixmatch and quickly
7    caused WCM to terminate its contractual relationship with LyricFind. Defendants
8    also coordinated with WCM to ensure WCM would not provide a direct lyric rights
9    license to Spotify (despite their prior licensing negotiations), nor to other DSPs, and
10   would instead force Spotify and other DSPs to sublicense lyric rights and data from
11   Musixmatch.
12         9.        TPG’s and Musixmatch’s goal was simple: make sure that Spotify,
13   and other DSPs, have no choice but to obtain Lyric Data Services and Lyric Rights
14   Licensing from Musixmatch despite its higher fees—a plainly anticompetitive result.
15   LyricFind brings this lawsuit to stop Defendants’ unlawful conduct, which has
16   eliminated competition and raised prices for Lyric Data Services and Lyric Rights
17   Licensing worldwide and in the United States, in violation of state and federal law.
18         10.    As a result of the scheme identified herein, TPG-owned Musixmatch
19   has maintained and expanded its monopoly in the sale of Lyric Data Services and
20   foreclosed competition for Lyric Rights Licensing—the essential services that allow
21   DSPs to display song lyrics, typically in a choice of languages synced in time with
22   music. Musixmatch, which is owned and directed by TPG, one of the largest private
23   equity groups in the world, services more than 80% of DSPs by streaming volume
24   and has agreements with six of the seven largest DSPs by global subscribers.
25         11.    LyricFind, by contrast, was founded by three friends fresh out of college
26   twenty years ago and has taken no institutional investment. LyricFind is the only
27   significant global competitor to Musixmatch, servicing most of the remaining
28   market.
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1             12.   WCM is one of just three major music publishers which own,
2    administer, and control the lyrics that are necessary to provide Lyric Data Services
3    and Lyric Rights Licensing. The other two major publishers are Sony Music
4    Publishing and Universal Music Publishing Group. Collectively, these “Big Three”
5    publishers own or administer rights to over 10 million titles worldwide, including
6    most of the world’s most popular and important songs. WCM’s market control is
7    substantial. WCM has full or partial ownership, and thus effective control, of
8    approximately 30% of all streams licensed on major platforms. As of November
9    2024, WCM also effectively controlled 64 of the top 100 songs on Billboard’s Top
10   Radio Airplay Chart, and 59 of the top 100 songs on Billboard’s Hot 100 Songs
11   Chart.
12            13.   The most common customers for Lyric Data Services are music DSPs,
13   which display lyrics alongside musical content. These DSPs include the world’s most
14   popular music streaming services like Spotify, Apple Music, YouTube Music,
15   Amazon Music, Deezer, Pandora, and many others.
16            14.   To display lyrics, DSPs need a license from the rights holders of each
17   song. DSPs typically obtain Lyric Rights Licensing from a lyric services provider
18   like Musixmatch or LyricFind, and at times, in the case of large DSPs, directly from
19   certain publishers.
20            15.   Separately, and in addition to this licensing, DSPs need an actual copy
21   of the lyrics to display, which they obtain from lyric data services providers like
22   LyricFind and Musixmatch. Music publishers typically do not invest the resources
23   necessary to create copies of the lyrics for the songs they control in a workable digital
24   format, so LyricFind and Musixmatch have undertaken the significant time and effort
25   to maintain and administer their large databases of lyric text files with translations
26   and synchronization data (synchronizing the display of the lyrics in time with audio),
27   which they provide to DSPs for a fee. Musixmatch and LyricFind compete to provide
28   these Lyric Data Services to customers like DSPs.
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1          16.    To compete effectively, LyricFind and Musixmatch must be able to
2    provide Lyric Data Services for all major publishers’ song titles, including WCM’s.
3    DSPs expect that providers of Lyric Data Services will have access to WCM’s
4    catalog because it represents a key portion of what users wish to stream; without it,
5    DSPs would not be able to display lyrics for many, and in some cases a majority of,
6    popular songs. Until March 2024, LyricFind enjoyed a long-standing, mutually
7    profitable relationship with WCM, partnering together on a non-exclusive basis with
8    respect to Lyric Rights Licensing and Lyric Data Services for more than 15 years
9    without issue.
10         17.    That changed when Musixmatch and TPG discovered that Spotify, the
11   largest customer in the market for Lyric Data Services, was very far along in
12   negotiations with LyricFind to replace Musixmatch as Spotify’s Lyric Data Services
13   provider. Spotify claims to account for as much as 50% of the total streamed songs
14   worldwide and is particularly crucial for independent and new artists. Spotify’s
15   negotiations with LyricFind progressed quickly from the fall of 2023 into March
16   2024. One of the challenges in switching from one lyric provider to another is the
17   technical integration required to source lyrics from the new provider. Spotify had
18   undertaken and largely finalized the technological integration needed to switch from
19   Musixmatch to LyricFind, including a successful internal test using LyricFind lyrics.
20   The parties were in the final stages of negotiating the contract through which
21   LyricFind would provide Lyric Data Services for Spotify, on information and belief,
22   at a significant discount to the rates commanded by Musixmatch.
23         18.    TPG and Musixmatch were desperate.
24               they now risked losing Spotify, Musixmatch’s largest customer, to its
25   main competitor. Rather than compete against LyricFind on the merits through lower
26   prices and better services, TPG and Musixmatch seized the opportunity to cement
27   Musixmatch’s monopoly and extinguish the competitive threat posed by LyricFind
28   once and for all. To do so, TPG and Musixmatch paid WCM a significant premium
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1    to execute the first-of-its-kind Exclusive that would block Spotify from signing with
2    LyricFind and force Spotify, along with all other major DSPs, to purchase Lyric Data
3    Services from Musixmatch at substantially higher prices.
4          19.
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8          20.
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10
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14
15         21.
16                                                              TPG and Musixmatch
17   orchestrated the unprecedented Exclusive with WCM that cut-off LyricFind’s ability
18   to furnish Lyric Data Services and Lyric Rights Licensing for WCM titles. On
19   information and belief, Musixmatch paid WCM an amount that far exceeds any
20   legitimate commercial goal to become the exclusive provider of Lyric Data Services
21   and exclusive sub-licensor of Lyric Rights Licensing for all WCM titles, meaning
22   only Musixmatch can provide Lyric Data Services for WCM’s titles and only
23   Musixmatch can sublicense rights to WCM’s lyrics. Underscoring the
24   anticompetitive nature of the Exclusive, neither Defendants nor WCM has publicly
25   disclosed the Exclusive, despite their longstanding practice of disclosing commercial
26   deals of this import.
27         22.    Fourth, based on the rights Musixmatch obtained in the Exclusive, TPG,
28   Musixmatch, and WCM conspired to force Spotify to sign with Musixmatch for both
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1    Lyric Data Services and Lyric Rights Licensing. Upon information and belief, WCM
2    ended its direct-licensing negotiations with Spotify and informed Spotify that its only
3    option for obtaining licenses and lyric data for WCM’s titles was from Musixmatch.
4    Spotify was forced to abruptly end its negotiations with LyricFind for Lyric Data
5    Services, as well as end its negotiations with WCM for direct Lyric Rights Licensing.
6    Musixmatch has also sought to fortify the Exclusive by signing similar exclusivity
7    deals with other publishers.
8          23.    Defendants’ scheme had the intended effect: it foreclosed competition
9    for Lyric Data Services and Lyric Rights Licensing and allowed Musixmatch to
10   charge unlawfully inflated fees. DSPs, especially major DSPs like Spotify, need
11   access to all three major publishers’ lyrics to provide a comprehensive product to
12   their users, otherwise they cannot display lyrics for many popular songs. As a result
13   of the WCM-Musixmatch Exclusive, LyricFind and other lyric service providers are
14   no longer able to compete with Musixmatch because they cannot provide Lyric Data
15   Services or Lyric Rights Licensing for approximately 30% of streams and around
16   60% of the top 100 songs, which are owned in whole or in part by WCM. Simply
17   put, Spotify and other DSPs cannot offer the market a viable lyric product without
18   the lyrics in WCM’s catalog. The only remaining practical choice for DSPs is to
19   contract with Musixmatch, at whatever price Musixmatch demands.
20         24.    In April 2024, Spotify informed LyricFind that because of the WCM-
21   Musixmatch Exclusive, Spotify had no choice but to halt its potential transition to
22   LyricFind. Spotify then renewed its agreement with Musixmatch, on information and
23   belief, despite Spotify having already negotiated a significantly better price and
24   service with LyricFind. LyricFind was robbed of an opportunity to partner with
25   Spotify on a contract worth tens of millions of dollars to LyricFind, and that would
26   have strengthened LyricFind’s competitive position in the rest of the market.
27         25.    The WCM-Musixmatch Exclusive also forecloses LyricFind from
28   signing new agreements, or renewing existing agreements, with other DSPs that need
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1    to display WCM’s lyrics, as all major DSPs do. For example, iHeartRadio, another
2    significant DSP, recently ended renewal negotiations with LyricFind when it learned
3    that LyricFind would no longer be able to service WCM’s catalog. iHeartRadio was
4    then forced to sign with Musixmatch at a price over five times higher than what
5    LyricFind had previously charged iHeartRadio. Other DSPs that have already
6    invested great sums to integrate LyricFind’s system will also be forced to switch to
7    Musixmatch, and nobody else, at a significant cost, while paying Musixmatch’s
8    monopoly fees. LyricFind’s viability as a business is now in jeopardy, as it can no
9    longer compete for DSPs’ business.
10         26.    The WCM-Musixmatch Exclusive will also foreclose other providers
11   from participating in the Lyric Data Services and Lyric Rights Licensing markets. A
12   handful of smaller competitors, as well as artists, labels, and distributors that have
13   provided WCM lyrics directly to DSPs, are now barred from doing so under the
14   Exclusive. With only Musixmatch left to service the market, prices will rise; choices
15   will be limited; there will be fewer songs with lyrics, translations, sync, and premium
16   data available; and the competitive impetus for innovation for Lyric Data Services
17   and Lyric Rights Licensing will grind to a halt.
18         27.    Nor is the harm limited to Lyric Service Providers and DSPs. Other
19   publishers, collective management organizations, and songwriters that jointly own
20   and control song rights with WCM are also harmed by the Exclusive because their
21   lyrics must now be provided only by Musixmatch. Artists and record labels whose
22   works are associated with WCM are now dependent on Musixmatch to provide Lyric
23   Data Services and Lyric Rights Licensing for their songs and cannot do so
24   independently or through another provider.
25         28.    There is no legitimate business justification for the WCM-Musixmatch
26   Exclusive. Rather than compete based on price or quality, TPG and Musixmatch
27   undertook an anticompetitive scheme to protect, maintain, and increase
28   Musixmatch’s monopoly in the Lyric Data Services market and its dominance in the
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1    Lyric Rights Licensing market. Because Musixmatch has been a monopolist in the
2    Lyric Data Services market at all times relevant to this lawsuit, Defendants’ actions
3    were intended to maintain and further that monopoly power in violation of state and
4    federal law.
5           29.     As a result of Defendants’ anticompetitive practices, LyricFind seeks
6    damages, costs, and attorneys’ fees pursuant to Section 1 and 2 of the Sherman Act,
7    Section 3 of the Clayton Act, California’s Cartwright Act, and California’s Unfair
8    Competition Law. While subject to proof at trial, LyricFind estimates that its
9    damages may exceed $1 billion post-trebling. LyricFind also seeks damages with
10   respect to Defendants’                                                      and their
11   intentional and/or negligent interference with LyricFind’s prospective economic
12   advantage.
13
                                        THE PARTIES
14
15          30.     Plaintiff LyricFind is a company organized and existing under the laws
16   of Ontario, Canada, with its principal place of business located at 40 Eglinton Avenue
17   East, Suite 400, Toronto, Ontario, Canada. LyricFind is a global provider of Lyric
18   Data Services and Lyric Rights Licensing for a broad range of customers.
19          31.     Upon information and belief, Defendant Musixmatch is a company
20   organized and existing under the laws of Italy, with its principal place of business
21   located at Via San Vitale, 5, Bologna, Italy. Musixmatch is a competitor of
22   LyricFind’s in the markets for Lyric Data Services and Lyric Rights Licensing. Upon
23   information and belief, at all relevant times herein, Musixmatch has maintained and
24   operated from offices in San Francisco, California and frequently transacts business
25   in this district.
26          32.     Upon information and belief, Defendant TPG is a limited liability
27   company existing under the laws of Delaware, with its principal place of business at
28   301 Commerce St #3300, Fort Worth, TX 76102. Upon information and belief, at all
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1    relevant times herein, TPG has maintained and operated from offices at 345
2    California Street, #3300, San Francisco, California and frequently transacts business
3    in this district. TPG is a large private equity firm that, upon information and belief,
4    owns a controlling stake in Musixmatch, which it purchased in or around July 2022.
5
                                RELEVANT THIRD PARTIES
6
7          33.      WCM is a company organized and existing under the laws of California,
8    with its principal place of business at 777 Santa Fe Avenue, Los Angeles, California.
9    WCM is the global publishing arm of Warner Music Group and publishes and
10   administers the rights to a wide array of popular musical compositions written by
11   songwriters.
12
                                JURISDICTION AND VENUE
13
14         34.      This action arises in part under Sections 1 and 2 of the Sherman Act, 15
15   U.S.C. §§ 1, 2. The Court has subject matter jurisdiction under 28 U.S.C. § 1331
16   (federal question), 15 U.S.C. § 15 (antitrust), and 15 U.S.C. § 26 (injunctive relief).
17   The Court also has supplemental jurisdiction with respect to Plaintiff’s state law
18   claims pursuant to 28 U.S.C. § 1367(a).
19         35.      The Court has personal jurisdiction over Defendant Musixmatch
20   because Musixmatch regularly transacts business within this district and the state of
21   California, including by contracting with WCM and other licensors within California,
22   contracting with customers and licensees within California, engaging in marketing
23   and business development within this district and elsewhere in California, providing
24   lyric products and services to consumers in this district and California, attending key
25   executives’ meetings in this district, and maintaining an office in San Francisco,
26   California.
27         36.      The Court has personal jurisdiction over Defendant TPG because TPG
28   regularly transacts business within this district and the state of California, including
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1    by its ownership and control over Musixmatch, contracting with customers within
2    California, engaging in marketing and business development within this district and
3    elsewhere in California, attending key executives’ meetings in this district, and
4    maintaining an office in San Francisco, California. TPG Growth, the division of TPG
5    that manages and directs Musixmatch, has its headquarters in San Francisco.
6          37.    The violations of law alleged in this Complaint took place in part in this
7    judicial district. Venue is therefore appropriate in the Northern District of California
8    under Section 12 of the Clayton Act, 15 U.S.C. § 22, and under 28 U.S.C. § 1391(b)
9    and (c).
10         38.    The conduct complained of herein has occurred in and had a substantial
11   effect on interstate trade and commerce.
12
                                 FACTUAL ALLEGATIONS
13
14         I.     INDUSTRY BACKGROUND
15         39.    This case involves the infrastructure that supports online music
16   streaming, which has become the dominant method by which consumers access and
17   listen to music in today’s digital world. The Lyric Data Services and Lyric Rights
18   Licensing that LyricFind and Musixmatch provide—which enable the display of real
19   time lyrics with music—are part of the music streaming experience that consumers
20   now expect and demand. The following background is necessary to show how
21   Defendants’ scheme has caused and will continue to cause harm to lyric service
22   providers like LyricFind, along with consumers, musicians, and various other parties.
23                       Music Streaming and the Increasing Demand for Synced
24                       Lyric Data
25         40.    The advent of digital streaming has transformed how people enjoy

26   music. Today, modern music streaming services allow people to access extensive

27   music libraries for a relatively low subscription fee (and in some cases, for free, often
28   supplemented by advertising), enabling listeners to explore a wide range of genres
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1    and artists without purchasing individual albums or tracks. These music streaming
2    services, known as DSPs, include Spotify, Apple Music, YouTube Music, Amazon
3    Music, Deezer, Pandora, and many others. Table A below shows the major DSPs’
4    subscriber market share in the U.S. as of early 2024. Figure A below displays the
5    major DSPs’ share of subscribers worldwide as of the 3rd quarter of 2023.
6                 Table A – Share of Music Streaming Subscribers in the U.S.
7      Spotify                                       36%
8
       Apple Music                                   30.7%
9
10     Amazon Music                                  23.8%
11
       YouTube Music                                 6.8%
12
13     Pandora                                       1.9%
14
       Tidal                                         0.5%
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1
2            Figure A – Share of Music Streaming Subscribers Worldwide
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16
           41.    These music streaming services have continually evolved to meet
17
     consumer demands. DSPs use sophisticated algorithms to offer personalized music
18
     recommendations and curated playlists to help users discover new and emerging
19
     artists. One popular feature that consumers demand across all streaming platforms is
20
     the synchronized display of lyrics with songs. Most music consumers consider lyrics
21
     to be a key part of their music experience and are more likely to pay for a streaming
22
     service that offers compelling lyrics features across its streaming library.
23
           42.    Over the past decade, DSPs have responded to this demand by
24
     integrating new lyrics features into their platforms. DSPs like Spotify, Apple Music,
25
     Amazon Music, YouTube Music, and Deezer offer synchronized lyrics for many of
26
     their songs, allowing users to read or sing along with lyrics synchronized line-by-line
27
     or word-by-word with music. These platforms also provide lyric content for users to
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1    share with others on social media. Additionally, as the demand for lyrics has
2    increased, platforms like Spotify have experimented with driving subscriber growth
3    by restricting access to lyrics for their non-subscriber customers.
4          43.    Figures B and C below illustrates how Spotify, the largest DSP,
5    incorporates lyrics on its mobile and desktop platforms by prominently displaying
6    them at the center of the user interface when a song is played or selected.
7
8                         Figure B -                              Figure C – Spotify’s
                  Spotify’s Desktop Display                         Mobile Display
9
10
11
12
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14
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20
           44.    Music streaming platforms are not the only music service providers that
21
     demand lyric-related features. Social media platforms also have started incorporating
22
     lyrics features when music is played. For example, Instagram and Facebook have
23
     introduced features that allow users to add song lyrics to their Reels and Stories when
24
     they use music from Meta’s library. All DSPs recognize, and are exploring ways to
25
     satisfy, consumers’ increasing demand for lyrical content.
26
           45.    As a result, DSPs have an increasing demand for Lyric Data Services
27
     and Lyric Rights Licensing, which are the necessary inputs required to display lyrics
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1    on their platforms. Music publishers and songwriters, who hold the rights to lyrical
2    works and other rights associated with musical works, play a crucial role in the Lyric
3    Data Services and Lyric Rights Licensing markets.
4                        Music Publishers’ Role in the Industry
5           46.    Music publishers secure and manage copyrights for musical
6    compositions, including promoting their catalog’s songs to recording artists,
7    licensing compositions for use by films, television, advertisements, and music
8    streaming services, monitoring song usage, and collecting and distributing royalties
9    to their clients.
10          47.    The Independent Music Publishers International Forum reports that the
11   global music publishing business was estimated to be worth $15.5 billion in 2023, an
12   increase of 15% from the previous year.
13          48.    The largest music publishers include WCM, Sony Music Publishing
14   (“Sony”), Universal Music Publishing Group (“UMPG”), Kobalt Music Publishing
15   (“Kobalt”), BMG Rights Management, and Concord Music Publishing. The Big
16   Three major music publishers—Sony, UMPG, and WCM—collectively accounted
17   for over 60% of the global music publishing market on a revenue basis in 2024, with
18   Sony accounting for 25%, UMPG 23%, and WCM 12%. The Big Three publishers
19   collectively own or administer over 10 million compositions.
20          49.    However, the scope of the major music publishers’ industry influence
21   exceeds their revenue-based market shares due to the size and shared control of their
22   musical catalogs. For example, according to its 2023 annual report, Warner Music
23   Group (WCM’s parent) believes its catalog is “differentiated by the scale, reach and
24   broad appeal of our music” and that its “collection of owned and controlled recording
25   and musical compositions, spanning a large variety of genres and geographies over
26   many decades, cannot be replicated.” In Warner Music Group’s words: “[a]s one of
27   the world’s largest music entertainment companies, we believe we are well
28   positioned to take advantage of growth in digital distribution and emerging
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1    technologies to maximize the value of our assets.” In 2024, WCM generated over $1
2    billion in music publishing revenue, an increase of 11% from the prior year.
3          50.    One area where publishers can “take advantage of growth in distribution
4    and emerging technologies” is Lyric Rights Licensing. Music publishers such as
5    WCM understand the value of lyrics to both consumers and DSPs and have made it
6    an important part of their business and a growing source of revenue. The importance
7    of lyrics is expected to continue to grow as new technologies enable users to enjoy
8    and interact with lyrics in new ways.
9          51.    Music publishers license rights to lyrical works differently from other
10   rights associated with music compositions. While music publishers own or
11   administer the copyrights of musical compositions, performing rights organizations
12   (“PROs”), collective management organizations (“CMOs”), and the Mechanical
13   Licensing Collective (“MLC”) often represent publishers in granting licenses for
14   non-lyrical musical rights, including to DSPs. In the U.S., for example, PROs like
15   the American Society of Composers, Authors and Publishers (“ASCAP”) and
16   Broadcast Music, Inc. (“BMI”) offer blanket licenses for public performance rights
17   on behalf of many songwriters and publishers, and the Mechanical Licensing
18   Collective (“MLC”) was established to administer a blanket license for certain
19   mechanical rights under the Music Modernization Act.
20         52.    The government has regulated some PROs through consent decrees and
21   regulates the MLC’s licensing practices under the Music Modernization Act. The two
22   largest U.S. PROs—ASCAP and BMI—are each regulated by separate antitrust
23   consent decrees that require them to offer equivalent license terms to similarly
24   situated services and venues, facilitating market entry for competing services and
25   generating more revenue for publishers and songwriters.
26         53.    Unlike the regulated blanket license regime for non-lyrical music rights,
27   lyric rights are licensed on a music publisher-by-music publisher basis. Customers
28   seeking to license lyric rights negotiate a license directly with each music publisher,
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1    or indirectly through lyric service providers like LyricFind or Musixmatch, which
2    are authorized to sublicense rights on behalf of contracted music publishers.
3                         Copyright Enforcement by Music Publishers
4          54.      Because many songs, especially popular songs, are written by multiple
5    songwriters, the intellectual property rights for those songs are often owned by
6    multiple songwriters and/or music publishers, which jointly administer the rights to
7    their songs and lyrics. Co-written songs are thus often controlled by multiple
8    publishers. For example, if a song’s lyrics and music have three equal co-writers, one
9    writer may be represented by WCM, another by Sony, and the third by UMPG, each
10   of which may hold a 33.33% interest—i.e. a “fractional interest”— in the copyright,
11   including the lyrics.
12         55.      Under U.S. copyright law, the default rule for joint works (including
13   non-musical works) is that co-owners hold the copyright as tenants-in-common,
14   allowing each co-owner to grant non-exclusive licenses to the full work in the
15   absence of a contract to the contrary. However, in music publishing, co-owners
16   generally do not grant full licenses out of respect for all publishers and contributing
17   writers. Thus, for split works, a co-owner typically will not grant a “full work” license
18   unilaterally. Instead, each co-owner typically grants “fractional licenses,” which
19   cover only the rights to the particular fraction of the work that each publisher owns
20   or controls.
21         56.      As a result, multiple publishers often own or control fractional rights to
22   the same song, which can be effectively licensed only if all fractional owners agree
23   to license their respective interests. This is the case for a large percentage of the most
24   popular songs on streaming services. Any publisher that holds a fractional interest to
25   a song can only effectively license its fractional share and thus depends on the other
26   publishers/owners to also grant licenses for their fractional interests. This means that
27   any single fractional rights holder has effective control to deny the licensing over any
28   song in which they have any partial rights, even with as little as 1% ownership (or
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1    less). Music service providers understand that a fractional license from one publisher
2    will not suffice to avoid infringement risk. They must identify all songwriters, verify
3    the various publishers that represent them, and obtain licenses from each co-
4    publisher.
5          57.    As one example, WCM has a 1.2% ownership stake in the hit song “7
6    Rings” by Ariana Grande, which has been streamed 2.4 billion times on Spotify and
7    1.4 billion times on YouTube. Despite WCM’s minimal ownership interest in this
8    song, DSPs still must obtain WCM’s licensing approval before they can display the
9    song’s lyrics on their platforms. Thus, WCM can effectively control the display rights
10   for “7 Rings,” along with approximately 60% of other top songs, based on its
11   fractional ownership stakes that can be as low as 1%.
12         58.    Due to this fractional-ownership framework, and the high concentration
13   of music publishers, each publisher wields greater market power than its revenue-
14   based market shares might suggest—a concern that regulators have scrutinized. A
15   publisher wields the same effective control over a song if it holds a 100% interest or
16   a 25% interest. Music publishers’ market power thus hinges on the amount of songs
17   they effectively control through fractional ownership.
18         59.    On information and belief, WCM controls approximately 30% of the
19   lyric display rights serviced by LyricFind, accounting for both partial and whole
20   ownership. WCM’s effective market share is notably higher for popular
21   contemporary music, which is critical to the commercial success of major DSPs like
22   Spotify. According to Billboard’s November 2024 Publishers Quarterly, WCM has
23   effective control, in whole or in part, of 64 of the top 100 songs on Billboard’s Top
24   Radio Airplay Chart and 59 of the top 100 songs on Billboard’s Hot 100 Songs Chart
25   in the United States.
26                      Lyric Service Providers
27         60.    For the same reason that blanket licensing and collective societies
28   emerged to help administer non-lyrical music rights—to lower transaction costs,
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1    make the licensing process more efficient, and facilitate copyright enforcement—a
2    similar need arose for intermediaries to collect, manage, and furnish lyrical works on
3    behalf of publishers, labels, and songwriters. Lyric service providers like LyricFind
4    and Musixmatch fulfill these roles, which include Lyric Data Services and Lyric
5    Rights Licensing.
6          61.    To facilitate Lyric Rights Licensing, lyric service providers source lyric
7    rights licenses from tens of thousands of music publishers, collection societies, and
8    songwriters. They then aggregate these licenses and sublicense them to clients, like
9    DSPs, who display lyrics to their customers. LyricFind’s current suite of licensing
10   rights covers over 50,000 music publishers around the world. LyricFind sublicenses
11   these rights to more than 50 clients, including Amazon, YouTube Music, Pandora,
12   and many other DSPs.
13         62.    LyricFind’s contracts with its customers require that DSPs obtain a
14   license to display the lyrics to any song for which they display lyric data provided by
15   LyricFind, regardless of whether the license is obtained from LyricFind or a music
16   publisher directly. Not all DSPs use lyric service providers for Lyric Rights
17   Licensing. Some large DSPs secure their own licenses directly from music
18   publishers, especially from major publishers like Sony, UMPG, and WMG.
19         63.    In addition to, and separate from, Lyric Rights Licensing, lyric service
20   providers provide Lyric Data Services to customers like DSPs. While music
21   publishers usually own or control the copyright in song lyrics, they do not typically
22   possess or invest in the creation of actual transcriptions of the lyrics, and therefore
23   cannot offer them to DSPs. DSPs instead obtain lyrical transcriptions and associated
24   data from lyric services providers like LyricFind and Musixmatch. Lyric service
25   providers furnish these Lyric Data Services by sourcing or transcribing lyrics and
26   creating text files that contain the lyrical transcriptions. These text files often also
27   include detailed translations and synchronization data, which allow lyrics to be
28   displayed line-by-line or word-by-word in synch with music.
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1          64.    In addition to these text files, Lyric Data Services also include royalty
2    administration services, i.e. collecting, allocating, and paying lyric-related royalties
3    to the correct rights holders. For example, LyricFind’s royalty administration system
4    utilizes the usage data tracked and/or submitted by clients and applies the amounts
5    paid by each client, type of use, territory of use, minimum guarantees or advances,
6    and royalty rates, to allocate the appropriate amounts due to each copyright owner in
7    each country for each DSP.
8          65.    Many customers obtain both Lyric Rights Licensing and Lyric Data
9    Services from a single lyric service provider, like LyricFind or Musixmatch.
10   However, many DSPs, including many of the largest DSPs, do not need a provider’s
11   help to license lyrics from major publishers because they obtain their own direct
12   licenses from them. These DSPs still seek licenses from smaller publishers through
13   a lyric service provider. Regardless of how DSPs license lyrics—directly or via
14   sublicense—they still need to procure Lyric Data Services to display lyrics to users.
15   Providers of Lyric Data Services thus strive to maintain as complete a lyrical catalog
16   as possible, even for songs they do not have the right to sublicense, because DSPs
17   may still need Lyric Data Services for songs that are separately licensed.
18                       DSPs Require a Complete Lyrical Catalog
19         66.    In the modern era of music streaming, music consumers expect that
20   major music platforms will allow them to stream most, if not all, mainstream music.
21   As such, major DSPs like Spotify and Apple Music host music from all major
22   publishers’ catalogs and do not tend to compete on the number of songs on their
23   platforms. DSPs instead compete on other aspects of their services like product
24   features and price. This is markedly different from the film or television industry,
25   where streaming platforms like Netflix and Hulu fiercely compete based on their
26   differing, and sometimes exclusive, content offerings.
27         67.    Thus, when sourcing Lyric Data Services, DSPs expect providers to
28   offer a complete catalog of lyrics from all major publishers in order to cover an
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1    adequate portion of lyric requests. To fill this need, lyric service providers like
2    LyricFind and Musixmatch strive to aggregate all lyrics from all major publishers,
3    along with independent publishers and songwriters, regardless of whether they have
4    lyric licenses in place for all of the subject works. While LyricFind and Musixmatch’s
5    lyrics offerings do not completely overlap, both have historically maintained
6    databases that, at a minimum, contain the vast majority of lyrics for the musical
7    compositions controlled by all the major publishers. In the years before the Exclusive,
8    LyricFind and Musixmatch competed based on price, the quality of their Lyric Data,
9    and the scope of their lyric offerings for works not controlled by the major publishers.
10   Some DSPs preferred LyricFind’s offering while others may have preferred
11   Musixmatch’s.
12          68.    Most DSPs expect to source Lyric Data Services from a single provider
13   because it is not practical or economical to integrate Lyric Data from multiple
14   databases or switch among them. Building the infrastructure to source Lyric Data
15   requires a significant investment of time and resources to ingest, maintain and operate
16   a provider’s unique database. Therefore, DSPs typically are not willing to spend the
17   resources to source Lyric Data from multiple providers. While two large DSPs,
18   Amazon Music and Google/YouTube Music, have chosen to incur the extra expense
19   of sourcing Lyric Data from both LyricFind and Musixmatch, they are the exception
20   because of their vast resources. For most DSPs, such a cost cannot be justified.
21          69.    Once a DSP partners with one lyric services provider, it tends to remain
22   with that provider due to the significant costs associated with switching, absent strong
23   competition from another provider. This is particularly true if an incumbent were to
24   obtain the exclusive rights to furnish a major publisher’s Lyric Data. In that event,
25   DSPs effectively would have no choice but to stay with the incumbent, as no other
26   provider would be able to furnish Lyric Data Services associated with that major
27   publisher’s titles.
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1           70.        WCM, with whom TPG and Musixmatch orchestrated the Exclusive, is
2    one of the Big Three publishers with effective control of approximately 30% of total
3    music streams and around 60% of the top 100 most popular songs. By locking up the
4    exclusive right to provide Lyric Data Services for these WCM titles and offer
5    associated Lyric Rights Licensing, TPG and Musixmatch have ensured that only
6    Musixmatch will be a viable option for most, if not all, DSPs, as no other provider
7    will be able to offer a viable lyrical catalog without WCM’s titles.
8           71.    In Spotify’s prescient words: “The music industry has a high level of
9    concentration, which means that one or a small number of entities may, on their own,
10   take actions that adversely affect our business.” “Our business may be adversely
11   affected if our access to music is limited or delayed because of deterioration in our
12   relationship with one or more of these rights holders or if they choose not to license
13   to us for any reason. These rights holders also may attempt to take advantage of their
14   market power (including by leveraging their publishing affiliate) to seek onerous
15   financial or other terms from us or otherwise impose restrictions that hinder our
16   ability to further innovate our service offerings.”
17                           LyricFind’s Long and Profitable Relationship with WCM
18          72.        LyricFind recognizes the importance of offering a comprehensive
19   catalog of lyrics to its clients. LyricFind has consistently sourced lyrics from a diverse
20   range of publishers, distributors, and songwriters so that its catalog meets the needs
21   of its clients.
22          73.        Among the music publishers that have partnered with LyricFind, the Big
23   Three—Sony, UMPG, and WCM—are particularly significant, as their large catalogs
24   are crucial to clients like DSPs. WCM is especially notable because it owns and/or
25   controls copyright interests in many of the most popular songs that consumers expect
26   to stream on DSPs’ platforms. Until the WCM-Musixmatch Exclusive, LyricFind
27   had, for many years, provided Lyric Data Services to customers for all three major
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1    publishers’ songs, regardless of whether the customers obtained a sublicense from
2    LyricFind or a direct license from the publisher.
3          74.    LyricFind’s partnership with WCM began in 2008, and the two
4    companies have maintained a strong and amiable working relationship since.
5    LyricFind’s most recent agreement with WCM was executed in 2018 and has been
6    extended/amended twice until June 30, 2024.
7          75.    This business relationship, spanning over fifteen years, has been
8    mutually beneficial and profitable. In 2023, for example, LyricFind administered
9    lyrical rights for hundreds of thousands of songs for WCM on a non-exclusive basis
10   and through its sublicensing and administration of direct licenses helped generate
11   millions of dollars of royalties for WCM.
12         II.    THE RELEVANT MARKETS
13         76.    Lyric service providers like LyricFind and Musixmatch operate in two
14   related, but separate relevant markets: (1) the Market for Lyric Data Services (“Lyric
15   Data Services Market”); and (2) the market for Lyric Rights Licensing (“Lyric Rights
16   Licensing Market”), which contains a submarket for the sublicensing of Lyric Rights
17   from lyric service providers (“Lyric Rights Sublicensing Submarket”) (collectively,
18   the “Relevant Markets”). The relevant geographic market for each of the relevant
19   product markets is worldwide, as described below.
20                      The Lyric Rights Licensing Market
21         77.    Market participants in the Lyric Rights Licensing Market and Lyric
22   Rights Sublicensing Submarket are lyric service providers that sublicense the lyric
23   rights owned or administered by major music publishers or other rights holders. Other
24   rights holders can include aggregators of music licensing rights, independent
25   publishers, and songwriters themselves.
26         78.    DSPs are customers in the Lyric Rights Licensing Market and Lyric
27   Rights Sublicensing Submarket. In some cases, DSPs obtain lyric rights through
28   sublicenses administered by lyric service providers. Other times, DSPs negotiate with
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1    large rights holders like WCM to license lyric rights directly. Regardless of whether
2    a license is obtained directly or via sublicense, DSPs still need to procure Lyric Data
3    Services to display lyrics on their platforms. It is therefore well recognized that Lyric
4    Rights Licensing and Lyric Data Services are distinct products with distinct market
5    demands.
6          79.    The Lyric Rights Sublicensing Submarket, i.e. the sublicensing of lyric
7    rights by lyric service providers, is a distinct submarket of the Lyric Rights Licensing
8    Market because DSPs often do not have the resources to obtain direct licensing from
9    music publishers at the scale required for their platforms, nor the resources to
10   administer a large volume of lyric license agreements. As a result, in many cases,
11   DSPs must rely on lyric service providers to obtain and administer lyric rights via
12   sublicenses. Thus, for many lyric rights, DSPs can only obtain sublicenses in the
13   Lyric Rights Sublicensing Submarket and cannot reasonably switch to direct licenses
14   in the event of a non-transitory price increase.
15         80.    At all relevant times, Musixmatch has had market power in the Lyric
16   Rights Licensing Market and monopoly power in the Lyric Rights Sublicensing
17   Submarket. On information and belief, before the Exclusive, Musixmatch serviced
18   approximately 31% of the Lyric Right Licensing Market based on licensing revenue,
19   while LyricFind serviced approximately 16% of the market. Most of the rest of the
20   Lyric Rights Licensing Market, approximately 53%, was comprised of direct
21   licensing by music publishers. Musixmatch’s market share in the Lyric Rights
22   Sublicensing Submarket before the Exclusive was approximately 66% by licensing
23   revenue.
24         81.    A key component of the Lyric Rights Licensing Market and Lyric
25   Rights Sublicensing Submarket is the need for lyric service providers to offer
26   sublicenses for the works of all major publishers with whom DSPs do not have a
27   direct license. Nearly all DSPs seek “one stop shopping” for their lyric licensing
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1    needs, meaning they want a single provider to provide sublicenses for all of the major
2    publishers’ catalogs and as many smaller publishers/songwriters as possible.
3          82.    Given a small but substantial, non-transitory increase in the price of
4    licensing within the Lyric Rights Licensing Market and Lyric Rights Sublicensing
5    Submarket, within the relevant geographic market, actual and prospective customers
6    would not substitute to a different service without the necessary characteristics.
7                        The Lyric Data Services Market
8          83.    The Lyric Data Services Market is related to, but distinct from, the Lyric
9    Rights Licensing Market. Lyric service providers in the Lyric Data Services Market
10   provide lyric data and royalty administration, which is the technical infrastructure
11   required to implement the lyric display licenses and allocate related royalties.
12         84.    The primary participants in the Lyric Data Services Market are
13   Musixmatch and LyricFind. At all relevant times, Musixmatch has been a monopolist
14   in the Lyric Data Services Market, with a current market share of approximately 80%.
15   The rest of the Lyric Data Services Market is primarily serviced by LyricFind. Other
16   minor participants in the Lyric Data Services market include entities such as Genius
17   (which provides Lyric Data Services to Apple), and Sockets and SyncPower (which
18   provide Lyric Data Services in Japan). On information and belief, these other
19   providers of Lyric Data Services collectively account for a de minimis share of the
20   Lyric Data Services Market by revenue.
21         85.    Fulfilling Lyric Data requires the creation of data files that contain the
22   actual text of lyrical transcriptions, as well as the data to synchronize the
23   transcriptions to sound recordings, either line-by-line or word-by-word. Lyric Data
24   Services also include processing and distributing lyric-related royalties. Lyric service
25   providers process usage data to determine the appropriate royalties due to each rights
26   holder, based on factors set forth in the relevant licensing agreements (e.g., amount
27   of use, type of use, territory of use, minimum guarantees, advances, etc.). They then
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1    pay the appropriate amounts due to each rights holder on a song-by-song, customer-
2    by-customer, and country-by-country basis.
3          86.    Customers in the Lyric Data Services Market are primarily DSPs. As in
4    the Lyric Rights Licensing Market, nearly all customers expect a single provider to
5    fulfill Lyric Data Services for all publishers, including major publishers, because it
6    is not economical to integrate data from multiple providers.
7          87.    Given a small but substantial, non-transitory increase in the price of
8    Lyric Data Services within a relevant geographic market, actual and prospective
9    customers would not substitute to a different service without the necessary
10   characteristics.
11                      The Relevant Geographic Market is Worldwide
12         88.    The relevant geographic market for both the Lyric Rights Licensing
13   Market and Lyric Data Services Market is worldwide. Customers and providers in
14   both markets primarily operate on a global basis. While certain local and regional
15   DSPs exist, DSPs that operate on a global basis represent more than 90% of total
16   global streams and revenue within the markets.
17         89.    In the Lyric Rights Licensing Market, the typical license granted by a
18   music publisher is global in nature, as are most of the sublicenses granted by lyric
19   services providers. In the Lyric Data Services Market, Lyric Data is the same
20   globally, so DSPs typically use a single global provider of Lyric Data Services, as it
21   does not make sense to source the same lyric file separately in different countries.
22         90.    As such, customers in both the Lyric Rights Licensing Market and Lyric
23   Data Services Market typically require global service from lyric service providers.
24                      Barriers to Entry
25         91.    There are just two main lyric service providers that participate in both
26   the Lyric Rights Licensing Market and the Lyric Data Services Market at scale:
27   Musixmatch and LyricFind. This market concentration is due, in part, to substantial
28   barriers to entry in both Relevant Markets.
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1          92.    In the Lyric Data Services Market, creating a comprehensive catalog of
2    song data and accompanying lyric files, and building the infrastructure to administer
3    royalty calculations and payments, takes years of effort, and substantial expenditures.
4    Although some publishers make small amounts of Lyric Data available, developing
5    a lyric database requires creating lyric transcriptions and translations, as well as
6    synchronization data, for the vast majority of songs for which lyrics are displayed.
7    Less than 0.1% of the lyrics in LyricFind’s database have been provided by major
8    publishers, despite them owning or controlling roughly 60% of the rights market.
9          93.    Further, the cost to develop the technology to administer Lyric Data
10   Services for various DSPs requires many millions of dollars of investment and years
11   of development time. These upfront costs inhibit market entry and expansion.
12         94.    Additionally, in the Lyric Rights Licensing Market, providers must
13   engage in individual negotiations with numerous publishers and songwriters, and
14   major publishers often require significant advances and minimum guarantees to
15   secure sublicensing rights. The technical infrastructure needed to manage those
16   sublicenses is also very significant, constituting a further barrier to entry.
17         95.    High switching costs also bar entry to the Relevant Markets. The vast
18   majority of the Relevant Markets (roughly 90% by revenue) is limited to a small
19   number of major DSPs, all of which have an existing Lyric Data Service provider.
20   These DSPs have already expended substantial costs to integrate their technology
21   with a specific provider’s infrastructure and are often bound by multi-year
22   agreements. This makes switching to a new third-party lyric services provider more
23   difficult because it would take a significant improvement in price or quality to justify
24   the added costs of a new provider, particularly if it would require terminating an
25   existing contract. Thus, once an incumbent lyric services provider is in place, there
26   is usually a substantial “stickiness” that reduces the opportunities for other providers
27   to compete for a DSP’s business.
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           III.   MUSIXMATCH FACED GROWING COMPETITION FROM
1                 LYRICFIND, WHICH LED TO DEFENDANTS’ SCHEME
2          96.    As the two largest competitors in the Lyric Data Services and Lyric
3    Rights Licensing Markets, LyricFind and Musixmatch have competed for years to
4    offer the best service and pricing for Lyric Data Services and Lyric Rights Licensing.
5    This includes many instances of head-to-head competition, which has intensified in
6    recent years. Defendants’ anticompetitive scheme, detailed below, was a direct
7    response to this intensifying competition from LyricFind, which threatened to
8    dislodge Musixmatch’s monopoly in the Lyric Data Services Market and reduce its
9    market power in the Lyric Rights Licensing Market.
10         97.    In 2022, for example, Meta (at the time, and still, a Musixmatch
11   customer) negotiated with both Musixmatch and LyricFind over a new contract for
12   Lyric Data Services and Lyric Rights Licensing. Although LyricFind did not win the
13   business, on information and belief, Musixmatch had to significantly lower its
14   proposed price, reportedly by over a million dollars, to retain Meta as a customer.
15   Meta also informed LyricFind that because of Musixmatch’s price reduction, and
16   despite LyricFind’s better offer, it could not justify the switching costs to bring on
17   LyricFind as its lyric service provider.
18         98.    Similarly, in 2023, LyricFind competed aggressively against
19   Musixmatch to provide Lyric Data Services and Lyric Rights Licensing to Tidal,
20   another major DSP. On information and belief, Musixmatch was forced to make
21   significant price concessions to maintain the Tidal business due to LyricFind’s
22   competing offer. This heightened competition loomed even larger with respect to
23   Spotify, the largest and most important DSP customer of Lyric Data Services and
24   Lyric Rights Licensing, whose contract with Musixmatch was set to expire in 2024.
25         99.    In addition to its higher prices, Musixmatch risked losing these DSPs’
26   business due to the lower quality of its services. For years, consumers have
27   complained that Musixmatch’s lyrics are, among other things, inaccurate, slow or fail
28   to appear, do not properly synch with music, and lack accurate translations.
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1    Musicians are equally frustrated: they complain that Musixmatch’s process for
2    submitting lyrics is cumbersome, non-functional, and bug-ridden, while at the same
3    time lacking customer service. Publicly, consumers have described Musixmatch’s
4    lyric services as a “living nightmare,” “as close as it gets to a scam,” and
5    “unfathomably bad,” leading some to question why the world’s premier DSP would
6    partner with such a poorly regarded service. As one user wrote, “[Musixmatch]
7    somehow secured an exclusive deal with Spotify, and does a terrible, terrible job at
8    its only task. . . . The only positive is that their contract will expire at some point, and
9    the music industry won’t have to deal with [Musixmatch] anymore.”
10          100. The growing competitive threat from LyricFind also stemmed from
11   LyricFind’s consistent improvements to its products and services. For example, in
12   December 2023, LyricFind acquired Rotor Videos, which provides self-service video
13   creation tools that musicians use to create videos for streaming platforms alongside
14   LyricFind’s existing “Videos by LyricFind” feature. These tools allow users to create
15   their own video content, e.g., Spotify Canvas Videos, Lyric Videos, Music Videos,
16   Art Videos, Apple Motion Art Videos, and more. LyricFind has also developed
17   LyricIQ, a set of innovative data analysis and filtering tools that analyze the content
18   of music lyrics and categorize them based on themes, topics, and content categories.
19   LyricIQ allows customers to identify and curate music playlists for their business
20   environments—e.g., limiting a stream to child-friendly music, or music appropriate
21   for an in-store shopping environment.
22          101. As LyricFind’s competitive advantages mounted, TPG and Musixmatch
23   became increasingly concerned that DSPs like Spotify would switch to LyricFind
24   due to its better services and lower prices as their contracts with Musixmatch expired.
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27          102.                                                                      TPG and
28   Musixmatch realized they now risked losing Musixmatch’s contract for Spotify, its
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1    largest DSP customer, which was set to expire at the end of April 2024. Their fears
2    were legitimate. From the fall of 2023 through April of 2024, LyricFind had been
3    negotiating with Spotify to take over Musixmatch’s role as Spotify’s supplier of
4    Lyric Data Services. LyricFind was also negotiating with Spotify to become the sub-
5    licensor of Lyric Rights Licensing for all of the music publishers that LyricFind
6    licenses, other than WCM, Sony, Universal, and Kobalt, from whom Spotify planned
7    to obtain licenses directly.
8          103. Because Spotify was negotiating to obtain lyric licenses directly from
9    these major publishers, including WCM, its negotiations with LyricFind focused on
10   Lyric Data Services and sub-licenses for “non-major” publishers. These negotiations
11   accelerated between the fall of 2023 and March 2024. LyricFind and Spotify met
12   several times, including multiple in-person meetings at Spotify’s offices. By early
13   2024, LyricFind and Spotify had completed the framework for a potential agreement
14   under which LyricFind would provide Lyric Data Services and Lyric Rights
15   Licensing to Spotify on a global basis.
16         104.    As detailed below,
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21         105.
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25         106. Spotify, however, continued to negotiate with LyricFind because the
26   terms of its offer were considerably better than Musixmatch’s. With the terms of their
27   potential agreement nearly finalized, Spotify made significant investments in the
28   technology and infrastructure necessary to switch from Musixmatch to LyricFind.
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1    This included the technical integration of Lyric Data Services needed to switch to
2    LyricFind and a successful internal beta test with Spotify staff using LyricFind’s data.
3          107. At the last moment, however, Spotify was forced to abandon its plans
4    with LyricFind and remain with Musixmatch because of the unprecedented WCM-
5    Musixmatch Exclusive. On the eve of Spotify’s renewal deadline with Musixmatch,
6    WCM broke the news of the WCM-Musixmatch Exclusive to Spotify (even before
7    informing LyricFind). WCM informed Spotify that, because of the Exclusive,
8    LyricFind could no longer supply Lyric Data Services for WCM’s titles, and WCM
9    would not directly license lyric rights to Spotify despite their prior negotiations.
10   Because each DSP needs to have WCM content available to its customer base,
11   LyricFind no longer could offer a full and comprehensive range of lyric services to
12   Spotify.
13         108. Because of the Exclusive and WCM’s refusal to directly license lyrics
14   to Spotify, Spotify was forced to renew its agreement with Musixmatch at
15   substantially higher fees than those offered by LyricFind. Indeed, all other major
16   DSPs, as their contracts expire, will be forced to do the same.
17         109.    This outcome was not the result of competition, but a multifaceted
18   scheme by Defendants to eliminate competition in the Lyric Data Services Market,
19   and restrain competition in the Lyric Rights Licensing Market, through
20   anticompetitive means.
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22         IV.    DEFENDANTS’ SCHEME TO ELIMINATE COMPETITION IN
                  THE RELEVANT MARKETS
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           110.
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17          TPG resorted to orchestrating the anticompetitive Exclusive between WCM
18   and Musixmatch—while also seeking exclusives with other publishers—to exclude
19   LyricFind, and all other competitors, from the Lyric Data Services Market.
20         116. TPG laid the groundwork for its scheme almost immediately after
21   acquiring Musixmatch in July 2022. TPG quickly appointed multiple TPG Partners
22   to Musixmatch’s board of directors, including David Trujillo and Jacqui Hawwa.
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26         117.
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17         122.
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21         123.
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26         124. Of particular concern to both TPG and Musixmatch was the possibility
27   that LyricFind would take over Musixmatch’s contract with Spotify, which was set
28   to expire in 2024 and generated millions of dollars of annual revenue for
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1    Musixmatch. In addition to potentially losing this revenue, TPG and Musixmatch
2    were concerned that Musixmatch would no longer be Spotify’s exclusive lyric
3    services provider, which was a critical selling point for the Musixmatch Pro service.
4    Musixmatch Pro is a subscription service that purportedly helps independent
5    songwriters and publishers get their lyrics on major streaming platforms. The
6    Musixmatch Pro service is offered to independent artists, songwriters, and publishers
7    at several annual pricing tiers, from $36 to more than $350, as shown in Figure D.
8    All of the tiers are premised on the idea that independent artists and publishers can
9    get their lyrics on major streaming platforms—particularly Spotify—only by paying
10   for Musixmatch Pro.
11         125. On information and belief, the Musixmatch Pro service is responsible
12   for a substantial share of Musixmatch’s total revenue and profit on an annual basis.
13   If TPG and Musixmatch lost the ability to ensure lyric availability on Spotify, the
14   revenue generated from Musixmatch Pro would be substantially reduced, as would
15   Musixmatch’s overall profitability and overall enterprise value to TPG.
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1            Figure D – May 29, 2024, Screenshot of Musixmatch Webpage
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18         126. TPG and Musixmatch’s fears about losing Spotify’s business mounted
19   as LyricFind’s negotiations with Spotify progressed towards the end of 2023. TPG
20   and Musixmatch were aware of LyricFind’s negotiations with Spotify and became
21   increasingly concerned that Musixmatch would lose Spotify’s business to LyricFind
22   due to LyricFind’s better services and lower prices.
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12                At the same time, Spotify continued integrating LyricFind’s technical
13   infrastructure for Lyric Data Services in anticipation of potentially switching from
14   Musixmatch to LyricFind. It was not until the WCM-Musixmatch Exclusive that
15   these negotiations came to a decisive end.
16                       TPG and Musixmatch Coordinated with WCM to Impose the
17                       WCM-Musixmatch Exclusive.
18         131.

19                  TPG and Musixmatch hatched a new plan to force DSPs to sign with

20   Musixmatch: ensuring only Musixmatch, and no other provider, could provide Lyric

21   Data Services and Lyric Rights Licensing for WCM’s songs.

22         132. Before the Exclusive, LyricFind and Musixmatch were both able to

23   fulfill this role. Publishers like WCM had never restricted which companies could

24   furnish Lyric Data Services for their songs, allowing LyricFind and Musixmatch to

25   compete based on price and quality. When their other anticompetitive tactics failed,

26   TPG and Musixmatch realized they could avoid this competition by locking up an

27   exclusive deal for a major publisher’s catalog, like WCM’s, as DSPs would not be
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1    willing to deal with LyricFind or other providers that lacked the ability to provide
2    lyric services for WCM’s songs.
3            133. This is the anticompetitive path TPG and Musixmatch chose rather than
4    to compete fairly on price or quality. As Spotify grew closer to signing with
5    LyricFind, TPG and Musixmatch coordinated with WCM to impose the
6    unprecedented Exclusive that would force Spotify and other major DSPs to sign with
7    Musixmatch at substantially higher rates.
8            134. At the direction of TPG, Musixmatch entered into the WCM-
9    Musixmatch Exclusive on or around March 20, 2024, just before Spotify was slated
10   to potentially finalize its deal with LyricFind. Although LyricFind has not yet
11   received an executed copy of the written Exclusive contract, WCM informed
12   LyricFind of its contents. Specifically, the WCM-Musixmatch Exclusive gives
13   Musixmatch (1) the exclusive right to provide Lyric Data Services for WCM’s titles
14   and (2) the exclusive right to sublicense Lyric Rights Licensing for WCM’s titles. In
15   effect, the Exclusive makes Musixmatch the only practical supplier of Lyric Data
16   Services, and the only practical sub-licensor of Lyric Rights Licensing, for most
17   DSPs.
18           135. On information and belief, in return for these dual exclusivity rights,
19   Musixmatch, at TPG’s direction, agreed to make substantial monetary payments and
20   financial incentives to WCM, which amounted to an anticompetitive bribe.
21           136. Under the terms of the Exclusive, DSPs like Spotify that wish to display
22   lyrics for WCM’s titles must now obtain Lyric Data Services from Musixmatch at
23   whatever cost it imposes, even those DSPs that previously sourced Lyric Data from
24   LyricFind or others at a fraction of the price. As WCM confirmed to LyricFind, under
25   the Exclusive, “all DSPs/partners can only source WCM lyrics from Musixmatch and
26   would need to remove lyric data from other sources.” The WCM-Musixmatch
27   Exclusive thus purports to prevent DSPs from sourcing Lyric Data from LyricFind
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1    or other providers, generating it themselves, or, incredulously, even obtaining it from
2    the songwriters, artists, or even co-publishers who own the lyric rights.
3          137. The WCM-Musixmatch Exclusive was not the byproduct of any
4    legitimate business needs, but rather a coordinated effort among TPG, Musixmatch,
5    and WCM to purchase market exclusivity for a substantial price. Upon information
6    and belief, Musixmatch entered into the Exclusive at the direction of TPG,
7                                      directly orchestrated and approved of the Exclusive
8    as an alternative means of boosting Musixmatch’s value. Far from a passive owner,
9    TPG was directly involved in trying to end the competitive threat that LyricFind
10   posed to Musixmatch—
11                                                                         by orchestrating
12   the WCM-Musixmatch Exclusive that would foreclose LyricFind from the Relevant
13   Markets.
14         138. Further underscoring the anticompetitive nature of the Exclusive, WCM
15   never asked LyricFind for a competing bid. LyricFind first learned of the Exclusive
16   when WCM informed LyricFind it was terminating its ability to provide Lyric Data
17   Services and Lyric Rights Licensing for WCM titles. Furthermore, Musixmatch and
18   WCM have yet to announce the agreement to the public, as would be expected with
19   an agreement of this magnitude.
20         139. The WCM-Musixmatch Exclusive is unprecedented in the lyric services
21   industry. Never before has a music publisher granted a single lyric services provider
22   the exclusive right to provide Lyric Data Services for its catalog, much less the
23   exclusive right to provide both Lyric Data Services and Lyric Rights Licensing.
24         140. As discussed above, given the scope of WCM’s catalog and the
25   commercial need for DSPs to display WCM’s lyrics, the only option for most DSPs
26   will be to contract with Musixmatch, effectively excluding LyricFind, and all other
27   providers, from the Relevant Markets while threatening their ability to remain
28   operational. Having rid itself of competition and cemented its monopoly through the
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1    WCM-Musixmatch Exclusive, Musixmatch will be free to raise prices for Lyric Data
2    Services and Lyric Rights Licensing to supracompetitive levels.
3          141. Unsurprisingly, WCM and Musixmatch have not publicly announced
4    the existence or specific terms of the WCM-Musixmatch Exclusive, despite their
5    practice of publicly announcing commercial deals. Indeed, Musixmatch announced
6    a deal regarding the licensing of its lyric video service on March 21, 2024, the day
7    after executing the WCM-Musixmatch Exclusive.
8          142. There is no legitimate, pro-competitive justification for the WCM-
9    Musixmatch Exclusive. Its sole goal is to exclude competition for Lyric Data
10   Services and Lyric Rights Licensing, particularly from LyricFind, whose viability as
11   a business is now at risk.
12         143. While the WCM-Musixmatch Exclusive will foreclose competition on
13   its own, Musixmatch also has pursued additional Lyric Rights Licensing and Lyric
14   Data Services exclusives with other notable music publishers to reenforce its market
15   power. On information and belief, in May 2024 Musixmatch proposed that Reservoir
16   Media, a large independent music publisher based in New York City, enter into an
17   exclusive deal similar to the WCM-Musixmatch Exclusive. Musixmatch also
18   approached Downtown Music Publishing, another New York City-based publisher,
19   for a similar exclusive deal. Upon information and belief, both music publishers
20   rejected Musixmatch’s anticompetitive proposals.
21                       LyricFind Is Cut-Off from Servicing WCM’s Catalog.
22         144.    Prior to the WCM-Musixmatch Exclusive, LyricFind and WCM had
23   worked together successfully for more than fifteen years. LyricFind considered its
24   relationship with WCM to be excellent, one of its strongest with any music publisher,
25   and was not aware of any concerns from WCM about its performance.
26         145. LyricFind’s relationship with WCM had been governed by written
27   agreements since 2008. Most recently, LyricFind and WCM entered into an
28   agreement in 2018 (the “2018 Agreement”) that has been extended on a biennial basis
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1    on mutually agreed terms. The 2018 Agreement authorized LyricFind, on a non-
2    exclusive basis, to display, and to authorize third party sub-licensees to display,
3    WCM-owned lyrics—that is, to provide Lyric Data Services and Lyric Rights
4    Licensing for WCM’s titles. Generally, there were no limitations to the length or
5    terms of any third-party sublicense granted by LyricFind under the 2018 Agreement,
6    and WCM’s custom and practice was to permit LyricFind to enter into sublicenses at
7    any time during the term of its agreement with WCM, and to grant sublicenses that
8    extended beyond the term of the 2018 Agreement. In December 2023, WCM
9    confirmed in writing that it would renew the terms of the 2018 Agreement through
10   June 30, 2024.
11         146. Nonetheless, after entering into the WCM-Musixmatch Exclusive,
12   WCM terminated LyricFind’s right to provide Lyric Data Services and Lyric Rights
13   Licensing for WCM’s titles. LyricFind was told that, based on the Exclusive, (i)
14   LyricFind must stop providing Lyric Data Services for WCM titles by March 20,
15   2025, and (ii) LyricFind’s customers must remove any WCM-owned Lyric Data
16   provided by LyricFind, or any other non-Musixmatch entity, by that same date. Thus,
17   after March 20, 2025, DSPs wishing to display Lyric Data for WCM titles will be
18   forced to contract with Musixmatch, and Musixmatch alone, at monopolistic prices.
19         147. In addition to foreclosing LyricFind and other providers from future
20   competition, the Exclusive’s March 20, 2025 cut-off date will force LyricFind to
21   breach its existing customer contracts. Because the March 20, 2025 cut-off date
22   precedes the termination date for many of the sublicenses that LyricFind issued under
23   the 2018 Agreement, this purported deadline will cause LyricFind to breach its
24   existing contractual terms with its customers.
25         148. LyricFind reasonably agreed to multi-year contract terms with its
26   customers, consistent with its long-standing practice for WCM and other publishers,
27   because the 2018 Agreement did not limit the length of the sublicenses that LyricFind
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1    could issue. Nothing in the 2018 Agreement permitted WCM to cap the term of
2    LyricFind’s sublicenses, much less do so retroactively.
3                       Spotify is Forced to Sublicense WCM’s Lyric Rights from
4                       Musixmatch.
5          149. Becoming the exclusive sub-licensor of lyric rights for WCM was not

6    enough for Musixmatch, as it feared DSPs might still evade its monopoly if they

7    could obtain lyric rights licenses directly from WCM. Indeed, before the Exclusive,

8    Spotify had been working to obtain Lyric Rights Licensing directly from Universal,

9    Sony, and Kobalt and, on information and belief, eventually obtained direct licenses

10   from each. Spotify had also been negotiating a direct licensing agreement with WCM,

11   and on information and belief, was close to executing that agreement before the

12   Exclusive.

13         150. WCM’s provision of direct licenses risked undercutting the Exclusive’s

14   anticompetitive goals because DSPs who obtained direct licenses from WCM would

15   be one step closer to displaying WCM’s lyrics without Musixmatch’s involvement,

16   as they could potentially source Lyric Data from other providers.

17         151.   To foreclose that possibility, and fully corner the Relevant Markets,

18   TPG and Musixmatch took the additional step of ensuring that WCM would not

19   provide direct licenses to Spotify and instead would force Spotify to obtain both Lyric

20   Rights Licensing and Lyric Data Services from Musixmatch.

21         152. By granting Musixmatch exclusivity over both Lyric Data Services and

22   Lyric Rights Licensing for WCM’s titles, the Exclusive doubly ensures that DSPs

23   like Spotify will be forced to contract with Musixmatch, as each type of exclusivity

24   reenforces the other. Before the Exclusive, customers were free to source Lyric Data

25   Services and Lyric Rights Licensing separately. For example, some DSPs obtained

26   Lyric Rights Licensing directly from major publishers while separately obtaining

27   Lyric Data Services from LyricFind or Musixmatch. Now, Defendants have ended
28
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1    this separation for WCM’s titles by effectively requiring Spotify and other DSPs to
2    obtain both Lyric Rights Licensing and Lyric Data Services from Musixmatch.
3          153. This de facto bundling of Lyric Rights Licensing and Lyric Data
4    Services reinforces Musixmatch’s dominance, and eliminates competition, in each
5    Relevant Market. Because most DSPs use only one lyric service provider, a DSP that
6    is forced to obtain Lyric Rights Licensing from Musixmatch will also generally use
7    Musixmatch for Lyric Data Services. And vice versa: a DSP that is forced to obtain
8    Lyric Data Services from Musixmatch will generally also use Musixmatch for Lyric
9    Rights Licensing.
10         154. The Exclusive also empowers Musixmatch to leverage its exclusive
11   access to WCM’s catalog to ensure it becomes DSPs’ sole lyrics provider.
12   Musixmatch can now force DSPs that use other or multiple lyric providers—or might
13   wish to do so in the future—to forego those relationships, and work exclusively with
14   Musixmatch, as a condition of receiving WCM-controlled lyrics. This would
15   foreclose competition for virtually all DSPs’ business, including the few DSPs that
16   have sourced lyrics from LyricFind and Musixmatch simultaneously.
17         V.    MUSIXMATCH HAS MARKET POWER IN THE RELEVANT
18               MARKETS
19         155. By virtue of Musixmatch’s market shares in the Relevant Markets, and

20   the barriers to entry and switching costs in each, Musixmatch possesses, and at all

21   relevant times has possessed, monopoly power in the Lyric Data Services Market and

22   market power in the Lyric Rights Licensing Market. In both Relevant Markets,

23   Musixmatch has possessed the power to control prices and/or exclude competition.

24                       Musixmatch’s Monopoly in the Lyric Data Services Market
25         156. Musixmatch controls approximately 80% of the global Lyric Data
26   Services Market and has possessed a similarly large market share for several years.
27   Musixmatch provides Lyric Data Services to approximately 82% of DSPs on a global
28
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1    basis by streaming revenue and, as shown in Table B below, has agreements with six
2    of the seven largest DSPs, which account for more than 90% of global subscribers.
3
4                    Table B – Major DSPs and Their Lyric Service Providers
5
           DSP            Global Subscribers 1             Subscriber           Lyric Services
6
                                                           Share in the            Provider
7
                                                              U.S. 2
8
          Spotify         239 million globally                36%                 Musixmatch
9
           Apple           92 million globally               30.7%                Musixmatch
10
         Amazon            83 million globally               23.8%              Musixmatch &
11
                                                                                   LyricFind
12
         YouTube 100 million globally (global                 6.8%              Musixmatch &
13
           Music      data is in combination with                                  LyricFind
14
                          YouTube Premium)
15
           Tidal                Unknown                       0.5%                Musixmatch
16
         Pandora       6 million paid subscribers             1.9%                 LyricFind
17
                       (46 million monthly active
18
                            users) (U.S. only)
19
         JioSaavn       100 million active users               N/A                Musixmatch
20
                            (not subscribers)
21
22
              157.    In addition to the DSPs listed above, Musixmatch is also the current
23
     provider of Lyric Data Services to two of the largest social media platforms, Meta
24
     (Facebook/Instagram) and Snapchat, which incorporate Lyric Data Services to allow
25
     users to edit and create videos that include synced lyrics. Social media companies
26
27
     1
28       Based on the data available for each DSP between 2022 and 2024.
     2
         Based on report dated July 2024.
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1    like Meta and Snapchat are significant sources of revenue for music publishers and
2    Lyric Data Service providers, and key music consumption platforms.
3          158. In addition to Musixmatch’s high market share, the Lyric Data Services
4    Market is characterized by significant barriers to entry, as described above. There
5    have been few, if any, new entrants into the Lyric Data Services Market for at least
6    the last ten years. The lack of entry is due to the millions of dollars in capital
7    investment required to obtain and maintain a competitive database of Lyric Data.
8          159. The Lyric Data Services Market is also characterized by significant
9    barriers to entry in the form of switching costs, as described above. Once a customer
10   begins sourcing Lyric Data Services from a given provider, there are substantial costs
11   related to switching to a competitor; namely, engineering a solution that will be
12   compatible with a new provider’s technologies. For many customers, this switching
13   cost is prohibitive and, in most cases, allows the incumbent provider to maintain their
14   position absent a breakdown in business relations.
15         160. As a result of the above-described barriers to entry and switching costs,
16   Musixmatch’s market power in the Lyric Data Services Market has been durable. On
17   information and belief, Musixmatch has maintained at least 80% of the Lyric Data
18   Services Markets for years.
19         161. The WCM-Musixmatch Exclusive and the other anticompetitive
20   conduct described herein will further foreclose competition for Lyric Data Services,
21   reenforcing Musixmatch’s monopoly and allowing it to raise prices to
22   supracompetitive levels.
23                      Musixmatch’s Market Power in the Lyric Rights Licensing
24                      Market and Its Attempted Monopolization
25         162. Upon information and belief, Musixmatch controls approximately 31%

26   of the global Lyric Rights Licensing Market by licensing revenue, and approximately

27   66% of Lyric Rights Sublicensing Submarket. As in the Lyric Data Services Market,
28   approximately 82% of DSPs on a global basis by streaming revenue use Musixmatch
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1    for Lyric Rights Licensing, as do six of the seven largest DSPs by global subscribers.
2    At all relevant times, Musixmatch has had the ability to raise prices or reduce output
3    in the Lyric Rights Licensing Market and the Lyric Rights Sublicensing Submarket
4    above the competitive level without losing significant market share.
5          163. The Exclusive seeks to expand Musixmatch’s market power in the Lyric
6    Rights Licensing Market into monopoly power, and cement Musixmatch’s monopoly
7    power in the Lyric Rights Sublicensing Submarket. As described above, due to the
8    technical infrastructure associated with Lyric Rights Licensing and the other
9    switching costs, most DSPs source Lyric Rights Licensing from a single lyric
10   services provider and use the same provider for both Lyric Rights Licensing and
11   Lyric Data Services.
12         164. Thus, by forcing DSPs to obtain Lyric Data Services from Musixmatch,
13   the Exclusive practically ensures that DSPs will also obtain Lyric Rights Licensing
14   from Musixmatch, as DSPs will have no reason to source Lyric Rights Licensing
15   separately from LyricFind. As DSPs are forced to switch to (or stay with)
16   Musixmatch for Lyric Data Services, Musixmatch will also take control of the share
17   of the Lyric Rights Licensing Market previously serviced by LyricFind, transforming
18   Musixmatch’s market-power into a monopoly.
19         165. The WCM-Musixmatch Exclusive thus leverages Musixmatch’s
20   monopoly in the Lyric Data Services market to expand its market power in the Lyric
21   Rights Licensing Market and Lyric Rights Sublicensing Submarket, making it all but
22   inevitable that Musixmatch will achieve monopoly power in each Relevant Market.
23         VI.    DEFENDANTS HAVE FORECLOSED COMPETITION IN THE
24                RELEVANT MARKETS AND CAUSED MARKETWIDE HARM
25         166. TPG’s and Musixmatch’s anticompetitive conduct has foreclosed

26   competition in the Relevant Markets and cemented Musixmatch’s monopoly in the

27   Lyric Data Services Market, resulting in damages to LyricFind that may exceed $1
28   billion post-trebling. Defendants’ conduct has also harmed virtually every
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1    stakeholder in the Relevant Markets except for Defendants and their co-conspirators.
2    This includes LyricFind, other lyric service providers, DSPs, DSP users, other music
3    publishers, and musicians themselves.
4          167. The harm to LyricFind, as well as other minor and potential lyric service
5    providers, such as Genuis, is substantial. Defendants have precluded LyricFind and
6    other providers from competing for DSPs’ business in both the Lyric Data Services
7    Market and Lyric Rights Licensing Market. The harm to LyricFind is particularly
8    notable given the LyricFind was deprived of a rare and lucrative opportunity to
9    replace Musixmatch as Spotify’s provider of Lyric Data Services and Lyric Rights
10   Licensing.
11         168. The WCM-Musixmatch Exclusive forecloses virtually all current and
12   potential business opportunities in the Relevant Markets for all providers other than
13   Musixmatch. For example, 95% of LyricFind’s present customers, which accounted
14   for more than 97% of its 2023 revenue, use LyricFind to obtain either Lyric Rights
15   Licensing or Lyric Data Services for WCM songs. By barring everyone other than
16   Musixmatch from servicing WCM’s catalog, the WCM-Musixmatch Exclusive will
17   make it near-impossible for anyone but Musixmatch to compete for new contracts,
18   or maintain their existing contracts long-term.
19         169. Indeed, one significant DSP, iHeartRadio, recently cut off contract
20   renewal negotiations with LyricFind as a result of the Exclusive. Despite once-
21   promising negotiations, iHeartRadio ultimately declined to renew with LyricFind
22   once it learned that LyricFind would no longer be able to provide lyrics for WCM’s
23   catalog. In late September and early October, 2024 iHeartRadio’s President of
24   Business Development & Strategic Partnerships, Michael Biondo, explained that
25   iHeartRadio could not continue sourcing lyrics from LyricFind if LyricFind lacked
26   the ability to service WCM’s titles. Upon information belief, iHeartRadio then signed
27   with Musixmatch at a price over five times higher than what iHeartRadio had been
28   paying LyricFind, as now only Musixmatch could service WCM’s catalog.
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1          170. As a result of Defendants’ anticompetitive conduct, LyricFind has
2    suffered damages including, but not limited to, lost profits based on both existing and
3    potential business opportunities that were eliminated, as well as decreased enterprise
4    value. This includes the lost profits associated with LyricFind’s loss of the Spotify
5    business. Given LyricFind’s enterprise value before the Exclusive, and the fact that
6    its viability as a business is now at risk, LyricFind estimates that it will have suffered
7    damages exceeding $1 billion after automatic trebling.
8          171. The anticompetitive conduct described herein harms other actual and
9    potential competitors in the Relevant Markets too. Because of the WCM-Musixmatch
10   Exclusive, no lyric service provider other than Musixmatch will be able to offer a full
11   catalog of Lyric Data Services or Lyric Rights Licensing to DSPs customers, and
12   thus will be foreclosed from meaningfully competing in both Relevant Markets.
13         172. Defendants’ scheme also will cause substantial harm to customers in the
14   Relevant Markets, particularly DSPs. By foreclosing competition, Musixmatch will
15   be able to eliminate choice and charge supracompetitive prices for both Lyric Data
16   Services and Lyric Rights Licensing. By reducing overall market output and
17   eliminating competitors, Musixmatch has been able, and will continue to be able, to
18   keep prices above what they would be in a competitive market. Customers, including
19   DSPs like Spotify, Tidal, Apple, Google, and Amazon, will end up paying higher
20   prices in both Relevant Markets.
21         173. Musixmatch’s dominance in the Relevant Markets harms consumers
22   globally and in this district. By increasing the costs of Lyric Rights Licensing and
23   Lyric Data Services, DSPs and other music service providers will end up charging
24   consumers more for their music streaming services. There is also a substantial
25   likelihood of reduced quality of service and innovation in the Lyric Rights Licensing
26   and Lyric Data Services markets. For instance, if a DSP chooses not to deal with
27   Musixmatch due to higher monopolistic prices, consumers will lose access to a range
28   of lyrics on that DSP’s services.
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1          174. Defendants’ scheme also harms other music publishers and songwriters.
2    Because of the WCM-Musixmatch Exclusive, music publishers that share ownership
3    of a work with WCM will be forced to accept Musixmatch as the provider of Lyric
4    Data Services for any shared works. Publishers and songwriters that wish to have
5    their lyrics provided to DSPs will be forced to accept lower payments for their works
6    due to the lack of competition in the Relevant Markets.
7          175. Defendants’ scheme will particularly harm independent songwriters.
8    Musixmatch already exploits these artists by forcing them to pay for Musixmatch Pro
9    to have their lyrics displayed on DSPs, particularly Spotify and Meta. LyricFind
10   provides the only meaningful competition to Musixmatch Pro by offering a free
11   service that helps independent artists get their lyrics on DSPs. By excluding
12   LyricFind and other providers from the Relevant Markets, Musixmatch will be free
13   to charge songwriters significantly more for a service LyricFind offers for free, both
14   raising costs for songwriters and reducing output for consumers.
15         176. Defendants’ conduct lacks any plausible procompetitive benefits or
16   justifications, and none exist that would outweigh the anticompetitive effects of
17   Defendants’ scheme. The Exclusive, and TPG and Musixmatch’s surrounding
18   scheme, are neither necessary nor reasonably tailored to any legitimate pro-
19   competitive goal. They only serve to increase Musixmatch’s dominance and restrict
20   competition in the Relevant Markets in violation of Sections 1 and 2 of the Sherman
21   Act and the other laws set forth below.
22
                                      CAUSES OF ACTION
23
24                     FIRST CAUSE OF ACTION
        VIOLATION OF SECTION 1 OF THE SHERMAN ACT, 15 U.S.C. § 1
25                 (AGAINST TPG AND MUSIXMATCH)
26         177. LyricFind re-alleges and incorporates by reference each of the
27   allegations set forth above.
28
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1          178. As alleged above, TPG, Musixmatch, and WCM conspired to effectuate
2    the WCM-Musixmatch Exclusive and surrounding anticompetitive scheme, with the
3    effect of unreasonably restraining trade and commerce in both the Lyric Data
4    Services Market and Lyric Rights Licensing Market.
5          179. The WCM-Musixmatch Exclusive and surrounding conspiracy
6    constitute unlawful agreements, contracts, and concerted activity that unreasonably
7    restrain trade in both the Lyric Data Services Market and Lyric Rights Licensing
8    Market in violation of Section 1 of the Sherman Act.
9          180. The WCM-Musixmatch Exclusive and surrounding conspiracy
10   foreclose a substantial share of competitors, and had anticompetitive effects, in both
11   Relevant Markets.
12         181. The WCM-Musixmatch Exclusive and surrounding conspiracy have no
13   procompetitive benefits or justification. Their anticompetitive effects outweigh any
14   purported procompetitive justifications.
15         182. As a result of the WCM-Musixmatch Exclusive and the surrounding
16   conspiracy, and the harm to competition they caused, LyricFind has suffered
17   substantial injuries to its business and property in an amount to be proven at trial and
18   automatically trebled, as provided by 15 U.S.C. § 15.
19         183. LyricFind is also entitled to recover from Defendants the costs of suit,
20   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
21                   SECOND CAUSE OF ACTION
22     MONOPOLIZATION OF THE LYRIC DATA SERVICES MARKET IN
       VIOLATION OF SECTION 2 OF THE SHERMAN ACT, 15 U.S.C. § 2
23                    (AGAINST MUSIXMATCH)
24
           184. LyricFind re-alleges and incorporates by reference each of the
25
     allegations set forth above.
26
           185. Musixmatch has monopolized the Lyric Data Services Market in
27
     violation of Section 2 of the Sherman Act.
28
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                                                                                     COMPLAINT
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1          186. At all relevant times, Musixmatch possessed monopoly power in the
2    Lyric Data Services Market, as demonstrated by its high market share, barriers to
3    entry, Musixmatch’s actual exclusion of competition, and its ability to charge
4    supracompetitive prices in the Lyric Data Services Market.
5          187. Through the scheme described above, and other conduct likely to be
6    revealed in discovery, Musixmatch has willfully and unlawfully maintained and
7    enhanced its monopoly power in the Lyric Data Services Market. Musixmatch’s
8    conduct constitutes exclusionary conduct within the meaning of Section 2 of the
9    Sherman Act.
10         188. Musixmatch has suppressed competition and produced anticompetitive
11   effects in Lyric Data Services Market, including causing LyricFind’s antitrust injury
12   and damages.
13         189. Musixmatch’s monopolistic conduct has no procompetitive benefit or
14   justification. The anticompetitive effects of its monopolistic conduct outweigh any
15   purported procompetitive justifications.
16         190. As a result of Musixmatch’s monopolistic conduct, and the harm to
17   competition caused by it, LyricFind has suffered substantial injuries to its business
18   and property in an amount to be proven at trial and automatically trebled, as provided
19   by 15 U.S.C. § 15.
20         191. LyricFind is also entitled to recover from Musixmatch the costs of suit,
21   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
22                     THIRD CAUSE OF ACTION
23     ATTEMPTED MONOPOLIZATION OF THE LYRIC DATA SERVICES
        MARKET IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT,
24                           15 U.S.C. § 2
25                     (AGAINST MUSIXMATCH)
26
           192. LyricFind re-alleges and incorporates by reference each of the
27
     allegations set forth above.
28
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1           193. As alleged above, Musixmatch has attempted to monopolize the Lyric
2    Data Services Market in violation of Section 2 of the Sherman Act.
3           194. Musixmatch possesses substantial market power in the Lyric Data
4    Services Market, as demonstrated by its high market share, its actual exclusion of
5    competition, and its ability to charge supracompetitive prices in the Lyric Data
6    Services Market.
7           195. Musixmatch has been implementing the anticompetitive scheme set
8    forth above, and other conduct likely to be revealed in discovery, with the specific
9    intent to monopolize the Lyric Data Services Market. Musixmatch’s scheme
10   constitutes exclusionary conduct, within the meaning of Section 2 of the Sherman
11   Act.
12          196. There is a dangerous probability that Musixmatch will succeed in
13   unlawfully extending its monopoly in the Lyric Data Services Market through its
14   anticompetitive scheme.
15          197. Musixmatch’s scheme has suppressed competition and has produced
16   anticompetitive effects in the Lyric Data Services Market, including LyricFind’s
17   antitrust injury and damages.
18          198. Musixmatch’s conduct has no procompetitive benefit or justification;
19   even if Musixmatch were to argue it did, the anticompetitive effects of its behavior
20   outweigh any purported procompetitive justifications.
21          199. As a result of Musixmatch’s conduct, and the harm to competition
22   caused by it, LyricFind has suffered substantial and continuing injuries to its business
23   and property in an amount to be proven at trial and automatically trebled, as provided
24   by 15 U.S.C. § 15.
25          200. LyricFind is also entitled to recover from Musixmatch the costs of suit,
26   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
27
28
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1                     FOURTH CAUSE OF ACTION
         CONSPIRACY TO MONOPOLIZE THE LYRIC DATA SERVICES
2       MARKET IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT,
3                            15 U.S.C. § 2
                   (AGAINST TPG AND MUSIXMATCH)
4
5           201. LyricFind re-alleges and incorporates by reference each of the
6    allegations set forth above.
7           202. As alleged above, TPG, Musixmatch, and WCM conspired to effectuate
8    the WCM-Musixmatch Exclusive and the surrounding anticompetitive scheme, with
9    the effect of unreasonably restraining trade and commerce in both the Lyric Data
10   Services Market and Lyric Rights Licensing Market.
11          203. TPG and Musixmatch orchestrated the WCM-Musixmatch Exclusive
12   and surrounding scheme with the specific intent of causing Musixmatch to expand,
13   preserve, or obtain a monopoly in the Lyric Data Services Market.
14          204. TPG and Musixmatch acted in furtherance of the conspiracy by
15
16   orchestrating the WCM-Musixmatch Exclusive, and leveraging it to exclude
17   LyricFind and other lyric providers from being able to effectively compete to provide
18   Lyric Data Services.
19          205. Defendants’ conduct has no procompetitive benefit or justification. The
20   anticompetitive effects of their behavior outweigh any purported procompetitive
21   justifications.
22          206. As a result of Defendants’ conduct, and the harm to competition caused
23   by that conduct, LyricFind has suffered substantial injuries to its business and
24   property in an amount to be proven at trial and automatically trebled, as provided by
25   15 U.S.C. § 15.
26          207. LyricFind is also entitled to recover from Defendants the costs of suit,
27   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
28
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1                      FIFTH CAUSE OF ACTION
         MONOPOLY LEVARAGING OF THE LYRIC DATA SERVICES
2       MARKET IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT,
3                            15 U.S.C. § 2
                       (AGAINST MUSIXMATCH)
4
5          208. LyricFind re-alleges and incorporates by reference each of the
6    allegations set forth above.
7          209. Musixmatch has leveraged its monopoly power in the Lyric Data
8    Services Market to obtain or attempt to obtain a monopoly in the Lyric Rights
9    Licensing Market and Lyric Rights Sublicensing Submarket in violation of Section
10   2 of the Sherman Act.
11         210. At all relevant times, Musixmatch possessed monopoly power in the
12   Lyric Data Services Market, as demonstrated by its high market share, barriers to
13   entry, Musixmatch’s actual exclusion of competition, and its ability to charge
14   supracompetitive prices in the Lyric Data Services Market.
15         211. Through the scheme described above, and other conduct likely to be
16   revealed in discovery, Musixmatch willfully abused its monopoly power in the Lyric
17   Data Services Market with the specific intent, and dangerous probability of success,
18   of monopolizing the Lyric Rights Licensing Market and Lyric Rights Sublicensing
19   Submarket.
20         212. Musixmatch has suppressed competition and produced anticompetitive
21   effects in Lyric Data Services Market and Lyric Rights Licensing Market, including
22   causing LyricFind’s antitrust injury and damages.
23         213. Musixmatch’s monopolistic conduct has no procompetitive benefit or
24   justification. The anticompetitive effects of its monopolistic conduct outweigh any
25   purported procompetitive justifications.
26         214. As a result of Musixmatch’s monopolistic conduct, and the harm to
27   competition caused by it, LyricFind has suffered substantial injuries to its business
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1    and property in an amount to be proven at trial and automatically trebled, as provided
2    by 15 U.S.C. § 15.
3          215. LyricFind is also entitled to recover from Musixmatch the costs of suit,
4    including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
5                     SIXTH CAUSE OF ACTION
6    ATTEMPTED MONOPOLIZATION OF THE LYRIC RIGHTS LICENSING
       MARKET IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT,
7                           15 U.S.C. § 2
8                     (AGAINST MUSIXMATCH)
9
           216. LyricFind re-alleges and incorporates by reference each of the
10
     allegations set forth above.
11
           217. As alleged above, Musixmatch has attempted to monopolize the Lyric
12
     Rights Licensing Market and Lyric Rights Sublicensing Submarket in violation of
13
     Section 2 of the Sherman Act.
14
           218. Musixmatch possesses substantial market power in the Lyric Rights
15
     Licensing Market and Lyric Rights Sublicensing Submarket, as demonstrated by its
16
     high market share, its actual exclusion of competition, and its ability to charge
17
     supracompetitive prices.
18
           219. Musixmatch has been implementing the anticompetitive scheme set
19
     forth above, and other conduct likely to be revealed in discovery, with the specific
20
     intent to monopolize the Lyric Rights Licensing Market and Lyric Rights
21
     Sublicensing Submarket. Musixmatch’s scheme constitutes exclusionary conduct,
22
     within the meaning of Section 2 of the Sherman Act.
23
           220. There is a dangerous probability that Musixmatch will succeed in
24
     obtaining monopoly power in the Lyric Rights Licensing Market and Lyric Rights
25
     Sublicensing Submarket through its anticompetitive scheme.
26
27
28
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1          221. Musixmatch’s scheme has suppressed competition and produced
2    anticompetitive effects in the Lyric Rights Licensing Market and Lyric Rights
3    Sublicensing Submarket, including LyricFind’s antitrust injury and damages.
4          222. Musixmatch’s conduct has no procompetitive benefit or justification;
5    even if Musixmatch were to argue it did, the anticompetitive effects of its behavior
6    outweigh any purported procompetitive justifications.
7          223. As a result of Musixmatch’s conduct, and the harm to competition
8    caused by it, LyricFind has suffered substantial and continuing injuries to its business
9    and property in an amount to be proven at trial and automatically trebled, as provided
10   by 15 U.S.C. § 15.
11         224. LyricFind is also entitled to recover from Musixmatch the costs of suit,
12   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
13                   SEVENTH CAUSE OF ACTION
14     CONSPIRACY TO MONOPOLIZE THE LYRIC RIGHTS LICENSING
       MARKET IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT,
15                          15 U.S.C. § 2
16                (AGAINST TPG AND MUSIXMATCH)
17
           225. LyricFind re-alleges and incorporates by reference each of the
18
     allegations set forth above.
19
           226. As alleged above, TPG, Musixmatch, and WCM conspired to effectuate
20
     the WCM-Musixmatch Exclusive and the surrounding anticompetitive scheme, with
21
     the effect of unreasonably restraining trade and commerce in both Relevant Markets.
22
           227. TPG and Musixmatch orchestrated the WCM-Musixmatch Exclusive
23
     and surrounding scheme with the specific intent of causing Musixmatch to obtain,
24
     expand, and preserve a monopoly in the Lyric Rights Licensing Market and Lyric
25
     Rights Sublicensing Submarket. There is a dangerous probability that Musixmatch
26
     has obtained or will obtain monopoly power in the Lyric Rights Licensing Market
27
     and Lyric Rights Sublicensing Submarket.
28
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1           228. TPG and Musixmatch acted in furtherance of the conspiracy by
2
3    orchestrating the WCM-Musixmatch Exclusive, and leveraging it to exclude
4    LyricFind and other lyric providers from being able to effectively compete to provide
5    Lyric Rights Licensing.
6           229. Defendants’ conduct has no procompetitive benefit or justification. The
7    anticompetitive effects of their behavior outweigh any purported procompetitive
8    justifications.
9           230. As a result of Defendants’ conduct, and the harm to competition caused
10   by that conduct, LyricFind has suffered substantial injuries to its business and
11   property in an amount to be proven at trial and automatically trebled, as provided by
12   15 U.S.C. § 15.
13          231. LyricFind is also entitled to recover from Defendants the costs of suit,
14   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
15                   EIGHTH CAUSE OF ACTION
16     UNLAWFUL EXCLUSIONARY ARRANGEMENT IN VIOLATION OF
                            15 U.S.C § 14
17                (AGAINST TPG AND MUSIXMATCH)
18
            232. LyricFind re-alleges and incorporates by reference each of the
19
     allegations set forth above.
20
            233. LyricFind has the requisite standing to assert antitrust claims against
21
     TPG and Musixmatch because Lyrics is a participant and competitor in the Relevant
22
     Markets.
23
            234. TPG and Musixmatch’s conspiracy with WCM to orchestrate the
24
     WCM-Musixmatch Exclusive and surrounding arrangements constitute an unlawful
25
     agreement, contract, and concerted activity that have the effect of substantially
26
     lessening competition in each Relevant Market in violation of Section 3 of the
27
     Clayton Act.
28
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1          235. Defendants’ anticompetitive scheme to substantially lessen competition
2    sought to eliminate, and succeeded in eliminating, LyricFind as a viable competitor
3    to Musixmatch’s business, as well as competition generally in each Relevant Market.
4          236. Defendants’ exclusionary conduct has foreclosed a substantial share of
5    competition and had anticompetitive effects in the Relevant Markets.
6          237. Defendants’ exclusionary conduct has no procompetitive benefit or
7    justification. The anticompetitive effects of the exclusionary contract outweigh any
8    purported procompetitive justifications.
9          238. As a direct and proximate result of the WCM-Musixmatch Exclusive
10   and surrounding conspiracy, and the harm to competition caused by them, LyricFind
11   has suffered substantial injuries to its business and property in an amount to be proven
12   at trial and automatically trebled.
13         239. LyricFind is also entitled to recover from Defendants the costs of suit,
14   including reasonable attorneys’ fees, as provided by 15 U.S.C. § 15.
15                    NINTH CAUSE OF ACTION
16    AGREEMENT IN VIOLATION OF CALIFORNIA CARTWRIGHT ACT,
              CAL. BUS. & PROF. CODE §§ 16720 ET SEQ.
17               (AGAINST TPG AND MUSIXMATCH)
18         240. LyricFind re-alleges and incorporates by reference each of the
19   allegations set forth above.
20         241. TPG and Musixmatch’s actions,
21   and conspiracy to effectuate the WCM-Musixmatch Exclusive, constituted concerted
22   action that was an unreasonable restraint of trade or commerce throughout California
23   and the United States in violation of the Cartwright Act, § 16720 of the California
24   Business and Professions Code. The WCM-Musixmatch Exclusive had the purpose
25   of eliminating competition in the Relevant Markets and ensuring that Musixmatch
26   maintained its monopoly in the Lyric Data Services Market.
27         242. Plaintiff LyricFind has been injured as a direct and proximate result of
28   the WCM-Musixmatch Exclusive and surrounding conduct. In addition, customers
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1    and suppliers in the Relevant Markets have been harmed by the actions of
2    Defendants, and that harm is ongoing. The unlawful conspiracy between TPG,
3    Musixmatch, and WCM has had the effect of increasing prices and/or limiting supply
4    in the Relevant Markets, as well as reducing innovation in the market.
5           243. As a result of Defendants’ conduct, and the harm to competition caused
6    by it, LyricFind has suffered substantial injuries to its business and property in an
7    amount to be proven at trial and automatically trebled, as provided by the Cartwright
8    Act.
9           244. LyricFind is also entitled to recover from Defendants the costs of suit,
10   including reasonable attorneys’ fees, as provided by § 16750(a) of the California
11   Business and Professions Code.
12                   TENTH CAUSE OF ACTION
13    UNFAIR COMPETITION IN VIOLATION OF CALIFORNIA’S UNFAIR
       COMPETITION LAW, CAL. BUS. & PROF. CODE §§ 17200 ET SEQ.
14               (AGAINST TPG AND MUSIXMATCH)
15          245. LyricFind re-alleges and incorporates by reference each of the
16   allegations set forth above.
17          246. As set forth above, Defendants have engaged, and continue to engage
18   in, unlawful and unfair business acts or practices in violation of California Business
19   and Professions Code §§ 17200 et seq. (“California’s Unfair Competition Law”).
20          247. Defendants have violated the Sherman Act, Clayton Act, and the
21   Cartwright Act and thus Defendants have violated California’s Unfair Competition
22   Law.
23          248. Defendants’ acts and business practices, whether or not in violation of
24   the Sherman Act, Clayton Act, or Cartwright Act, constitute unfair methods of
25   competition in violation of California’s Unfair Competition Law.
26          249. Defendants’ acts and business practices are otherwise unfair within the
27   meaning of California’s Unfair Competition Law, and thus Defendants have violated
28   California’s Unfair Competition Law.
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1          250. As a result of Defendants’ violations of California Business and
2    Professions Code § 17200, Defendants have been unjustly enriched at LyricFind’s
3    expense. The unjust enrichment continues to accrue as the unlawful and unfair
4    business acts and practices continue. Therefore, LyricFind is entitled to obtain
5    restitutionary disgorgement in an amount to be determined at trial.
6          251. Defendants should also be permanently enjoined from continuing their
7    violations of California Business and Professions Code § 17200, as provided by
8    § 17203 of the California Business and Professions Code. Without injunctive relief,
9    LyricFind will continue to suffer irreparable injury as a result of Defendants’
10   unlawful conduct. LyricFind’s remedy at law is not by itself adequate to compensate
11   LyricFind for the harm inflicted and threatened by Defendants.
12                   ELEVENTH CAUSE OF ACTION
13     INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC
                           ADVANTAGE
14                (AGAINST TPG AND MUSIXMATCH)
15         252. LyricFind re-alleges and incorporates by reference each of the
16   allegations set forth above.
17         253. At the time that TPG and Musixmatch conspired with WCM to
18   effectuate the WCM-Musixmatch Exclusive, both LyricFind and Musixmatch were
19   engaged in negotiations with Spotify and iHeartRadio as described above, and both
20   LyricFind and Musixmatch anticipated engaging in similar negotiations with other
21   DSPs. The combined value of the Spotify and iHeartRadio business to LyricFind,
22   while subject to proof at trial, was tens of millions of dollars.
23         254. Defendants were aware of LyricFind’s negotiations with Spotify and
24   iHeartRadio, and its existing and prospective negotiations with other DSPs, and
25   undertook the anticompetitive and unlawful scheme described herein to undermine
26   LyricFind’s negotiations and ensure that Musixmatch, not LyricFind, was awarded
27   these contracts.
28
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1          255.
2
3
4                   Then, after orchestrating the WCM-Musixmatch Exclusive,
5    Musixmatch     informed    Spotify    about       the   unlawful   and   anticompetitive
6    WCM-Musixmatch Exclusive to discredit LyricFind, and interfere with LyricFind’s
7    prospective commercial relationship with Spotify, by indicating that LyricFind no
8    longer had access to WCM’s lyric catalog.
9          256. Through their conduct, Defendants intended to, and did, disrupt
10   LyricFind’s relationship with Spotify, iHeartRadio, and other DSPs to favor
11   Musixmatch.
12         257.    LyricFind’s relationships with Spotify and iHeartRadio were ultimately
13   disrupted by Defendants’ scheme, as Spotify and iHeartRadio informed LyricFind
14   they could not award LyricFind their business because of the WCM-Musixmatch
15   Exclusive, and instead awarded their business to Musixmatch.
16         258. LyricFind has been injured in its business or property through the loss
17   of past, present, and future profits, by the loss of customers and potential customers,
18   by the loss of goodwill and product image, and by the prospective destruction of its
19   business. Defendants’ conduct was a substantial factor in causing this harm.
20         259. Defendants’ conduct was intentional and deprived LyricFind of
21   business opportunities in violation of the law and otherwise caused injury and was
22   despicable conduct that subjected LyricFind to cruel and unjust hardship and
23   oppression in conscious disregard of its rights, so as to justify an award of exemplary
24   and punitive damages.
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1                     TWELFTH CAUSE OF ACTION
         NEGLIGENT INTERFERENCE WITH PROSPECTIVE ECONOMIC
2                            ADVANTAGE
3                   (AGAINST TPG AND MUSIXMATCH)
           260. LyricFind re-alleges and incorporates by reference each of the
4
     allegations set forth above.
5
           261. At the time that TPG and Musixmatch conspired with WCM to
6
     effectuate the WCM-Musixmatch Exclusive, both LyricFind and Musixmatch were
7
     engaged in negotiations with Spotify and iHeartRadio as described above, and both
8
     LyricFind and Musixmatch anticipated engaging in similar negotiations with other
9
     DSPs. The value of the Spotify and iHeartRadio business to LyricFind, while subject
10
     to proof at trial, was valued in the tens of millions of dollars.
11
           262. Defendants were aware of LyricFind’s negotiations with Spotify and
12
     iHeartRadio, and its existing and prospective negotiations with other DSPs, and
13
     undertook the anticompetitive and unlawful conduct described herein to undermine
14
     LyricFind’s negotiations and ensure that Musixmatch, not LyricFind, was awarded
15
     these contracts.
16
           263.
17
18
19
                   Then, after Musixmatch entered into the WCM-Musixmatch Exclusive,
20
     Musixmatch      informed       Spotify   about       the   unlawful   and   anticompetitive
21
     WCM-Musixmatch Exclusive in order to harm LyricFind, and interfere with
22
     LyricFind’s prospective commercial relationship with Spotify, by indicating that
23
     LyricFind no longer had access to WCM’s lyric catalog.
24
           264. Through their conduct, Defendants knew or should have known that
25
     their wrongful conduct would disrupt LyricFind’s relationship with Spotify,
26
     iHeartRadio, and other DSPs to favor Musixmatch.
27
28
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1          265. LyricFind’s relationships with Spotify and iHeartRadio were ultimately
2    disrupted by Defendants’ scheme, as they informed LyricFind they could not award
3    LyricFind their business because of the WCM-Musixmatch Exclusive, and instead
4    awarded their business to Musixmatch.
5          266. LyricFind has been injured in its business or property through the loss
6    of past, present, and future profits, by the loss of customers and potential customers,
7    by the loss of goodwill and product image, and by the prospective destruction of its
8    business in the United States. Defendants’ conduct was a substantial factor in causing
9    this harm.
10                         THIRTEENTH CAUSE OF ACTION
11
12
           267. LyricFind re-alleges and incorporates by reference each of the
13
     allegations set forth above.
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           268.
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           269.
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           270.
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           271.
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3          272.
4          273.
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9          274.
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12
                                  PRAYER FOR RELIEF
13
14         275. WHEREFORE, LyricFind respectfully requests the following relief
15   from this Court:
16
                  •     Awarding LyricFind money damages, trebled pursuant to law;
17
                  •     Awarding LyricFind punitive damages;
18
                  •     Awarding LyricFind the costs of the lawsuit, including
19
                        reasonable attorneys’ fees and court costs;
20
                  •     Disgorgement in the amount gained by Defendants due to
21
                        Defendants’ violation of the law;
22
                  •     Declaring Defendants’ conduct unlawful, improper, and in
23
                        violation of the above-referenced laws; and
24
                  •     Ordering such other and further relief as the Court may deem
25
                        just, proper, and equitable.
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27
28
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1                                JURY TRIAL DEMAND
2
           LyricFind hereby demands trial by jury on all issues so triable under Rule 38
3
     of the Federal Rules of Civil Procedure.
4
5
     Dated: March 5, 2025                  By:        /s/ David C. Brownstein
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